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 7                           UNITED STATES BANKRUPTCY COURT

 8                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9                                   (LOS ANGELES DIVISION)

10
      In re: GLENROY COACHELLA, LLC,                  Case No.: 2:21-BK-11188-BB
11
12    Debtor,                                         Chapter 7
      _____________________________________
13    QUONSET PARTNERS LLC, a California              Adv. No.:
      limited liability company,
14                                                    VERIFIED COMPLAINT FOR:
15    Plaintiff,
                                                          1) QUIET TITLE TO REAL
16    v.                                                     PROPERTY;
                                                          2) RESULTING TRUST;
17    GLENROY COACHELLA, LLC, a Delaware                  3) DECLARATORY RELIEF; AND
18    limited liability company;                          4) VIOLATION OF 42 U.S.C. § 1942
      CITY OF COACHELLA, a municipal
19    corporation;
      RICHARD A. MARSHACK, in his capacity
20    as Chapter 7 Trustee of the bankruptcy estate
21    of Glenroy Coachella, LLC;
      ALL PERSONS UNKNOWN, CLAIMING
22    ANY LEGAL OR EQUITABLE RIGHT,
      TITLE, ESTATE, LIEN, OR INTEREST IN
23
      THE PROPERTY DESCRIBED IN THE
24    COMPLAINT ADVERSE TO PLAINTIFF’S
      TITLE, OR ANY CLOUD ON PLAINTIFF’S
25    TITLE THERETO; and
      DOES 1 through 10, inclusive,
26
27    Defendants.

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 1          Plaintiff Quonset Partners LLC (“Quonset”) hereby complains and alleges as follows.
 2                                     JURISDICTION AND VENUE
 3          1.      This adversary proceeding arises under the Bankruptcy Code and arises in and relates
 4   to the above-captioned Chapter 7 bankruptcy case of debtor Glenroy Coachella, LLC (“Glenroy” or
 5   “Debtor”) in the United States Bankruptcy Court for the Central District, Case No. 2:21-bk-11188-
 6   BB, before the Honorable Sheri Bluebond. The Court has jurisdiction over this action pursuant to
 7   28 U.S.C. §§ 1334(b) and (e).
 8          2.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The resolution of the
 9   claims at issue will have an effect on the value of Glenroy’s estate and distribution to its creditors.
10          3.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409(a).
11          4.      This Court has jurisdiction over them pursuant to 28 U.S.C. § 1331 and
12   12 U.S.C. § 2614 because the matter arises under federal law, specifically, 42 U.S.C. 1983.
13          5.      Quonset has standing to bring this action pursuant to California Code of Civil
14   Procedure 526a because this is an action to obtain a judgment, and preventing any illegal waste of,
15   or injury to, the property of the City of Coachella (the “City”). Additionally, Quonset, as a member
16   of the tax-paying public, has a substantial interest in the outcome of this controversy.
17                                      NATURE OF THE ACTION
18          6.      This adversary proceeding seeks to protect and enforce a validly created and
19   existing public easement—which the City has failed and refused to file and record—on Glenroy’s
20   real estate that is now part of the present bankruptcy estate.
21          7.      Glenroy expressly granted the City the subject public easement on Glenroy’s land
22   because it used public funds from the City, under California’s “Mello-Roos Community Facilities
23   Act of 1982” (the “Mello-Roos Act”), to improve the real property.
24          8.      The stated purpose of the Mello-Roos Act is to provide an alternate method for local
25   governments to finance capital facilities and services. Essentially, the Mello-Roos Act authorizes a
26   local government agency to create special geographic districts wherein the local government can
27   levy a special tax on residents specifically to fund the purchase, construction, expansion, or
28



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 1   rehabilitation of public facilities such as parks, schools, libraries, or any other buildings. (See Cal.
 2   Gov. Code § 53313.5.)
 3             9.    Here, the Mello-Roos Act monies in question were raised by the City through the
 4   creation of a Community Facilities District No. 2018-1 (“CFD”). Through the CFD, the City issued
 5   bonds. Those bonds are to be paid through the implementation and collection of a Mello-Roos Act
 6   tax (the “Special Tax”) imposed upon the public.
 7             10.   Quonset owns the land near Glenroy’s property, which Quonset leases (through a
 8   sublease with Quonset’s original tenant) to The Lighthouse Coachella, LLC (“Lighthouse”), a
 9   California state-licensed commercial cannabis retailer. Quonset, Lighthouse, as well as other local
10   businesses and residents, have been paying this Special Tax.
11             11.   Over the past several years, the City has collected thousands of dollars in Special
12   Tax from Quonset and its neighbors and the public. In addition, over the past few years, Quonset
13   and its tenants have paid thousands in sales and use taxes, business license taxes, income taxes, and
14   other remittances to the City.
15             12.   Quonset and the general public are the express and intended beneficiaries of this
16   validly created, existing yet un-recorded easement for use of the property.
17             13.   This easement is now at severe risk of extinguishment or termination if Glenroy’s
18   Chapter 7 Trustee, Richard A. Marshack, conducts a sale of the property. Such a sale is to provide
19   free and clear title to any potential buyer, which may not include the subject easement.
20             14.   The City and the Chapter 7 Trustee have failed to file and record this easement as
21   well as enforce this easement against encroachment, all to the detriment of Quonset and the general
22   public.
23             15.   Accordingly, Quonset brings this adversary proceeding to quiet title, obtain a
24   declaration that the City is entitled to a public easement on the property, secure an injunction
25   preventing Glenroy’s Chapter 7 Trustee from scheduling a sale of the real property until the City’s
26   public easement is recorded, secure a declaration that any sale of the Glenroy real property is subject
27   to the City’s public easement, and recover an award of compensatory, other damages, and attorneys’
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 1   fees allowable by law the City has caused by failing to record the public easement that Quonset and
 2   other residents have funded in violation of their substantive and procedural due process rights.
 3                                               PARTIES
 4          16.     Plaintiff Quonset is a limited liability company organized under the laws of
 5   California, and authorized to do business and doing business in the Community Facilities District
 6   No. 2018-1 of the City of Coachella, California.
 7          17.     Defendant Glenroy is a limited liability company organized under the laws of
 8   Delaware authorized to do business and doing business in California.
 9          18.     Defendant City is a municipal corporation and a political subdivision of the State of
10   California.
11          19.     Defendant Mr. Marshack is an individual, acting in his capacity as the Chapter 7
12   Trustee of the bankruptcy estate of Glenroy.
13          20.     Quonset does not know the true names of “All Persons Unknown, Claiming Any
14   Legal or Equitable Right, Title, Estate, Lien, or Interest in the Property Described in the Complaint
15   Adverse to Plaintiff’s Title, or Any Cloud on Plaintiff’s Title Thereto” and DOES 1 through 10,
16   inclusive, and therefore sues them by those fictitious names.
17          21.     Each of the DOE defendants claims, or may claim, some interest in the real property
18   described in this Complaint. The names, capacities, and relationships of DOES 1 through 10 will
19   be added by amendment to this Complaint when they are known.
20          22.     At all times mentioned in this Complaint, Defendants were the agents and employees
21   of their co-Defendants, and in doing the things alleged in this Complaint were acting within the
22   course and scope of that agency and employment.
23                                     GENERAL ALLEGATIONS
24   A.     Glenroy and the City Create a Pubic Easement But Fail to Record It.
25          23.     In August 2018, the City entered into an Acquisition Agreement (the “Agreement”)
26   with Glenroy to improve its real property under California’s Mello-Roos Act. Attached hereto as
27   Exhibit A is a true and correct copy of the Agreement.
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 1            24.    Under the Agreement, the City formed The City of Coachella Community Facilities
 2   District No. 2018-1 (Glenroy) (the “Glenroy CFD”).
 3            25.    Pursuant to the Agreement, and under the Mello-Roos Act, in exchange for the
 4   public’s money being used to improve the land owned by Glenroy, for the express benefit of the
 5   public, which includes Quonset, Glenroy expressly granted the City a public easement to a parking
 6   lot at 84150 Avenue 48, Coachella, California 92201 (Accessor’s Parcel Numbers 603-220-063 and
 7   603-220-069)—the premises adjoining the real property where Glenroy was to develop a luxury
 8   hotel.
 9            26.    Despite the easement being created, the City never recorded it, as it had and still has
10   a duty to do.
11            27.    In the interim, Quonset and the public paid significant sums in Special Tax that
12   funded infrastructure improvements that benefited Glenroy’s hotel project.
13   B.       Glenroy’s Falls Into Receivership, and the Receiver Blocks Use of Public Easement.
14            28.    However, in 2019, Glenroy fell into financial turmoil and became engaged in a
15   dispute with its construction lenders. Ultimately, Glenroy lost control of its hotel project to
16   Edwin W. Leslie (the “Receiver”), appointed by the Honorable Randall Stamen (in the Superior
17   Court of Riverside County, Case No.: RIC1905743) in a separate action against its lenders.
18            29.    In April 2020, the Receiver ordered a fence to be built around the parking lot, thereby
19   blocking the agreed-to, valid, and presently existing (yet unrecorded) public easement, and sought
20   a separate $20,000 a month fee from Quonset to use the parking lot.
21            30.    On or around April 14, 2020, the Receiver hired American Fence Company, Inc. to
22   fence off the parking lot that had been operated and maintained by the City.
23            31.    On April 15, 2020, Quonset advised the Receiver that the fence would trespass on
24   land it had a private agreement to traverse and would also prevent the public from obtaining access
25   to the parking lot per the City’s easement.
26            32.    The Receiver refused to allow the public access to the parking lot unless Quonset
27   agreed to pay an additional $20,000 a month under a private agreement, separate and apart from
28   amounts Quonset and its sub-tenant had already paid in Special Tax and other City taxes.



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 1          33.     On or about April 16, 2020, Quonset alerted the City to the Receiver’s plans to erect
 2   a fence around the parking lot with the intention of preventing the public from accessing it in
 3   violation of the Agreement and the City’s public easement.
 4          34.     Although the City staff acknowledged there were issues with the Receiver’s
 5   proposed fence, the City did nothing to enforce its rights to the public easement, including to record
 6   its public easement in Glenroy’s property records.
 7          35.     Quonset has made repeated demands on the City to act to no avail. The City has
 8   failed and/or refused to record or enforce the public’s reciprocal access easement on the parking lot.
 9          36.     In the meantime, in February 2021, Glenroy filed for bankruptcy protection before
10   this Court. The Court appointed Mr. Marshack as Trustee.
11          37.     Now, Mr. Marshack intends to conduct a bankruptcy sale of the subject real property
12   “free and clear” of all interests on September 30, 2021.
13          38.     If that sale occurs without the City’s public easement being properly reflected in the
14   property records, the public easement may be extinguished.
15          39.     The unfortunate, inequitable consequence of this will be that Quonset, like other local
16   residents and business owners, and the general public—all of whom directly or indirectly financed
17   the infrastructure under the Mello-Roos Act and through other sales, use, and business license
18   taxes—will lose all rights, ownership, and claims to this public easement upon which they have
19   detrimentally relied and continue to rely.
20                                        CLAIMS FOR RELIEF
21                       COUNT I FOR QUIET TITLE TO REAL PROPERTY
22                                 (By Plaintiff Against All Defendants)
23          40.     Quonset incorporates by reference herein each of the preceding allegations.
24          41.     The two parcels of real property at issue in this case, with respect to rightful owner
25   and ownership, are identified as follows: The first parcel, where Quonset is located, is identified as
26   Accessors Parcel Number 603-220-063 (the “063 Property”). The second parcel, where the parking
27   lot is located, is identified as Accessors Parcel Number 603-220-069 (the “069 Property”).
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 1           42.     The person claiming an interest in each of the 063 Property and 069 Property is
 2   Quonset for itself and on behalf of the public.
 3           43.     By virtue of the City failing to record its expressly granted public easement, a cloud
 4   of title now exists on each of the properties concerning the use of the parking lot.
 5           44.     This dispute over title is ripe and the parties require declaratory relief.
 6           45.     Therefore, Quonset hereby seeks an order quieting title to the parking lot and
 7   declaring that the City has a public easement on the parking lot belonging to Glenroy, guaranteeing
 8   the public access to the parking lot.
 9                                 COUNT II FOR RESULTING TRUST
10                                  (By Plaintiff Against All Defendants)
11           46.     Quonset incorporates by reference herein each of the preceding allegations.
12           47.     When the transfer of property is made to one person and the purchase price is paid
13   or for another, Courts can impose, as requested here, a resulting trust in favor of the paying person,
14   here Quonset.
15           48.     Mello-Roos Act monies are raised by the City by issuing bonds. Those bonds are
16   paid off by the City implementing and collecting upon a Special Tax imposed upon the public in the
17   City.
18           49.     Quonset, a local state-licensed commercial cannabis retail operator, as well as other
19   local businesses and residents, have been paying this Special Tax, for years.
20           50.     Over the past several years, the City has in fact collected tens of thousands of dollars
21   in Special Taxes from Quonset, its subtenant, and its neighbors and the public.
22           51.     By virtue of paying these Special Taxes which pay off the public bonds, Quonset and
23   the public have “paid for,” and continue to pay for, the public easement and their individual right to
24   so access the subject parking lot.
25           52.     Further, the parties’ intentions were always to allow Quonset and other members of
26   the public to have access to, and use, the parking lot located on Glenroy’s property and for the City
27   to record a public easement for the benefit of the public.
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 1             53.   Despite demand, the City and other Defendants fail to record the public easement to
 2   use the Parking Lot located at 069.
 3             54.   A resulting trust is should therefore be placed on the subject parking lot for the
 4   benefit of Quonset and the general public.
 5                             COUNT III FOR DECLARATORY RELIEF
 6                                  (By Plaintiff Against All Defendants)
 7             55.   Quonset incorporates by reference herein each of the preceding allegations.
 8             56.   There is a continuing, ripe and justiciable controversy concerning whether and in
 9   what form the City has a public easement on the parking lot owned by Glenroy, notwithstanding the
10   fact that the easement has not been filed and recorded by the City.
11             57.   Quonset herein claims that they have rightful use of the parking lot, notwithstanding
12   the easement’s lack of recordation, by virtue of the City’s public easement.
13                         COUNT IV FOR VIOLATION OF 42 U.S.C. § 1983
14   (RIGHT TO PROCEDURAL DUE PROCESS UNDER THE FIFTH AND FOURTEENTH
15   AMENDMENTS TO THE U.S. CONSTITUTION AND CALIFORNIA CONSTITUTION)
16                                      (By Plaintiff Against the City)
17             58.   Quonset hereby incorporates all other paragraphs of the Complaint as if fully set forth
18   herein.
19             59.   Mello-Roos Act monies were used by Glenroy to improve certain of their real
20   property including the parking lot.
21             60.   In exchange, pursuant to the Agreement, Glenroy granted the City a public easement
22   on Glenroy’s property for the subject parking lot.
23             61.   That easement, validly existing, was never recorded by the City despite repeated
24   demand.
25             62.   The public easement benefits, and is expressly designed and written to so benefit, the
26   Quonset and the general public
27             63.   The City fails and refuses to file and record the public easement which it has a duty
28   to do under the Agreement.



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 1             64.   The City has no, and has offered no, lawful and/or legitimate reason or justification
 2   for their lack of filing and recording the public easement.
 3             65.   The public easement remains unrecorded as of the date of this Complaint
 4             66.   Quonset, under both the California and U.S. Constitutions, has procedural due
 5   process rights which the City has violated by not filing and recording the public easement.
 6             67.   As a result, by their actions, the Defendants have deprived Quonset of its rights,
 7   privileges, and/or immunities secured by both the California and U.S. Constitutions.
 8                            COUNT V FOR VIOLATION 42 U.S.C. § 1983
 9   (RIGHT TO SUBSTANTIVE DUE PROCESS UNDER THE FIFTH AND FOURTEENTH
10             AMENDMENTS TO THE U.S. CONSTITUTION AND THE CALIFORNIA
11                                            CONSTITUTION)
12                                      (By Plaintiff Against the City)
13             68.   Quonset hereby incorporates all other paragraphs of the Complaint as if fully set forth
14   herein.
15             69.   Mello-Roos Act monies were used by Glenroy to improve certain of their real
16   property including the parking lot.
17             70.   In exchange, pursuant to the Agreement, Glenroy granted the City a public easement
18   on Glenroy’s property for the subject parking lot.
19             71.   Mello-Roos monies are monies raised by City by issuing bonds. Those bonds are
20   paid off by a City, including defendant City, implementing and collecting upon a Mello-Roos tax
21   imposed upon the public in that City.
22             72.   Quonset, its subtenants, as well as other local businesses and residents, have been
23   paying this Special Tax for years.
24             73.   Quonset and the general public thus have ownership rights to, and in, the public
25   easement. They have each “paid” valid consideration for the public easement.
26             74.   The public easement benefits, and is expressly designed and written to so benefit, the
27   Quonset and the general public
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 1          75.       The City fails and refuses to file and record the public easement which it has a duty
 2   to do under the Agreement.
 3          76.       The City has no, and has offered no, lawful and/or legitimate reason or justification
 4   for their lack of filing and recording the public easement.
 5          77.       The public easement remains unrecorded as of the date of this Complaint.
 6          78.       Because the public easement remains unfiled and unrecorded, Quonset and the
 7   general public, who have each been paying monies for the public easement in the form of Special
 8   Taxes, are owed, and own right to and interest in, the public easement.
 9          79.       Quonset, under both the California and U.S. Constitutions, has substantive due
10   process rights which the City has violated by not filing and recording the public easement.
11          80.       As a result, by their actions, the Defendants have deprived Quonset of its rights,
12   privileges, and/or immunities secured by both the California and U.S. Constitutions.
13                                         PRAYER FOR RELIEF
14          WHEREFORE, Quonset demands judgment be entered against Defendants, and DOES 1
15   through 10, and each of them as follows:
16      1. for the imposition of a resulting trust over the Parking Lot located at 069 in the favor of the
17          public;
18      2. for declaratory relief to confirm the City of Coachella’s easement for public access to the
19
            Parking Lot located at 069, irrespective of the current form of title;
20
        3. for equitable relief in the form of deed reformation to confirm and record on public title the
21
            easement for Public access to the Parking Lot located at 069;
22
        4. for a declaratory judgment declaring that the City’s failure to record and defend the public
23
            easement is unconstitutional and violation of Quonset’s and the public’s substantive and
24
            procedural due process rights;
25
        5. for a temporary restraining order, and a preliminary and permanent injunction preventing
26
            Glenroy’s Chapter 7 Trustee from conducting any sale of the Property until the City’s
27
28          public easement is recorded;




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 1      6. for an order that any buyer of the Property under a sale by Gelnroy;s Chapter 7 Trustee
 2         takes the Property subject to the City’s public easement;
 3      7. for a judgment for general damages in an amount to be determined by proof at trial;
 4
        8. for a judgment for interest thereon at the legal rate;
 5
        9. for an award of attorneys’ fees and costs as allowed by law; and
 6
        10. for such other and further relief as the Court deems just and proper.
 7
 8   Dated: September 29, 2021                    D | R WELCH ATTORNEYS AT LAW

 9
                                                  By: _/s/ Aluyah I. Imoisili_____________________
10                                                Aluyah I. Imoisili
11
                                                  Attorneys for Plaintiff Quonset Partners LLC
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         EXHIBIT A
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                          ACQUISITION AGREEMENT

                                     among

                              CITY OF COACHELLA

                                      and

                         CITY OF COACHELLA
            COMMUNITY FACILITIES DISTRICT NO. 2018-1 (GLENROY),

                                      and

                          GLENROY COACHELLA, LLC
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                                    ACQUISITION AGREEMENT


         THIS ACQUISITION AGREEMENT (the "Acquisition Agreement"), dated as of May 1,
  2018 is by and among the CITY OF COACHELLA, a municipal corporation and a political
  subdivision of the State of California (the "City"), COMMUNITY FACILITIES DISTRICT NO.
  2018-1 OF THE CITY OF COACHELLA (GLENROY) (the "CFD"), and GLENROY
  COACHELLA, LLC (the "Owner").

                                              ARTICLE I.
                                             DEFINITIONS

          Section 1.01 Definitions. The following terms shall have the meanings ascribed to them in
  this Section 1.01 for purposes of this Acquisition Agreement.

           "Acceptable Title" means title to land or interest therein, in form acceptable to the Director,
  free and clear of all liens, taxes, assessments, leases, easements and encumbrances, whether or not
  recorded, but subject to any exceptions determined by the Director as not interfering with the actual
  or intended use of the land or interest therein. Notwithstanding the foregoing, an irrevocable offer of
  dedication may constitute land with an "Acceptable Title" if: (i) such offer is necessary to satisfy a
  condition to a tentative or final parcel map, (ii) such offer is in a form acceptable to the Director,
  (iii) the Director has no reason to believe that such offer of dedication will not be accepted by the
  applicable public agency, and (iv) the Owner commits in writing not to allow any liens to be imposed
  on such property prior to its acceptance. Notwithstanding the foregoing, if the land is within the
  boundaries of any existing community facilities district (including the CFD), an assessment district,
  or other financing district, then the lien of the special taxes or assessments shall be a permitted
  exception to title so long as the land, while owned by the City or other public agency, is exempt from
  the special tax or assessments to be levied by the community facilities district, assessment district, or
  other financing district.

          "Acceptance Date" means the date the City Council (or other public entity which is to own a
  Facility) takes final action to accept dedication of or transfer of title to a Facility.

           "Acquisition Agreement" means this Acquisition Agreement, together with any Supplement
 hereto.

          "Act" means the Mello-Roos Community Facilities Act of 1982, Section 53311 et seq. of the
  California Government Code, as amended.

         "Actual Cost" means the substantiated cost of a Facility or a Discrete Component, which
 costs may include all hard and soft costs associated with the Facility or a Discrete Component,
 including, but not limited to: (i) the costs for the design, engineering, and construction (including
 grading) of such Facility or Discrete Component, (ii) the costs incurred by the Owner in preparing
 the Plans for such Facility or Discrete Component and the related costs of environmental evaluations
 of the Facility or Discrete Component, (iii) the fees paid to governmental agencies for, and all other
 costs incurred in connection with obtaining permits, licenses or other governmental approvals for
 such Facility or Discrete Component, (iv) professional costs incurred by the Owner or the City
 associated with such Facility or Discrete Component, such as engineering, legal, accounting,
 inspection, construction staking, materials testing and similar professional services; and (v) costs
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  directly related to the construction and/or acquisition of a Facility or Discrete Component, such as
  costs of payment, performance and/or maintenance bonds, and insurance costs (including costs of
  any title insurance required hereunder).

           "Affiliate" means any entity with respect to which fifty percent (50%) or more of the
  ownership or voting power is held individually or collectively by the Owner and any other entity
  owned, controlled or under common ownership or control by or with, as applicable, the Owner, and
  includes all general partners of any entity which is a partnership. Control shall mean ownership of
  fifty percent (50%) or more of the voting power of or ownership interest in the respective entity. A
  title or escrow company that is an affiliate of the Owner shall not be considered an Affiliate for
  purposes of this Acquisition Agreement.

          "Authorized Fees" means, collectively, the City Fees and the CSD Fees.

          "Bonds" means the bonds to be issued by the City for the CFD, in one or more series, secured
  by the levy of special taxes of the CFD.

          "Business Day" means a day other than a Saturday, Sunday or a day that Coachella City Hall
  is not open for business and serving the public.

         "CFD" means the Community Facilities District No. 2018-1 of the City of Coachella
  (Glenroy), created by the City under the Act.

          "City" means the City of Coachella, a municipal corporation and a political subdivision of
  the State.

           "City Facilities" means the streets, stonn drainage, parking, water facilities, parks, trails and
  landscaping improvements to be owned, operated or maintained by the City; and City Fees as set
  forth in Exhibit "A."

         "City Facilities Account" means the subaccount of the Improvement Fund by that name from
  which the City Facilities may be funded.

          "City Fees" means the City-imposed development impact fees described m Exhibit "A"
  attached hereto.

        "Completed Facility" or "Completed Facilities" means a facility or facilities completed by
  the Owner prior to the formation of the District as identified on Exhibit A hereto.

          "County" means the County of Riverside, California.

         "Development Agreement" means the Glenroy Resort Development Agreement by and
  between the City and the Owner, approved by the City pursuant to Ordinance No. 1110.

          "Director" means the City Manager of the City or his or her written designee acting as such
  under this Acquisition Agreement.

          "Disbursement Request Form" means the request form attached to the CSD JCF A as
  Exhibit C (for CSD Fees) or Exhibit C-1 (for CSD Acquisition Facilities and CSD Construction


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  Facilities), which shall be used to requisition Funding Sources to pay for CSD Facilities and CSD
  Fees.

          "Discrete Component" means a functional segment or component of a Facility that the
  Director has agreed can be separately identified, inspected and completed consistent with the
  provisions of Section 53313 .51 of the Act, and be the subject of a Payment Request hereunder. The
  Discrete Components are shown on Exhibit A hereto with each lettered description of work
  constituting a Discrete Component of the corresponding Facility.

         "CSD" means the Coachella Sanitary District.

         "CSD Acquisition Facilities" means the sewer facilities described in Exhibit "A" which are
  constructed by Owner and acquired by CSD.

         "CSD Construction Facilities" means the sewer and water facilities described in Exhibit "A"
  which are constructed by CSD.

          "CSD Facilities" means (i) CSD Acquisition Facilities, (ii) CSD Construction Facilities and
  (iii) CSD Fees.

          "CSD Fees" means sewer connection fees, annexation fees, sewer treatment capacity charges,
  sewer surcharge fees, and all components thereof imposed by CSD with respect to development of
  the property within the CFD.

         "CSD JCFA" means the Joint Community Facilities Agreement entered into by and among
  City, CSD and Owner, dated as of May 1, 2018, as it may be amended.

         "Event of Default" is defined in Section 10.01 herein.

          "Facility" or "Facilities" means the public facility or facilities described in Exhibit "A"
  hereto which are eligible to be financed by the CPD consisting of City Facilities and CSD Facilities.
  The descriptions of the Facilities in Exhibit "A" are preliminary in some cases. The final Plans may
  show substitutes or modifications approved by the applicable public agency to the proposed Facilities
  in order to accomplish the work or serve the new development within the CFD.

        "Fiscal Agent" means the agent named to such position as fiscal agent or trustee under the
 Fiscal Agent Agreement, or any successor thereto acting as fiscal agent under the Fiscal Agent
 Agreement.

       "Fiscal Agent Agreement" means the fiscal agent agreement, indenture of trust or other
 agreement providing for, among other matters, the issuance of the Bonds and the establishment of the
 Improvement Fund, as it may be amended or supplemented from time to time.

         "Funding Sources" shall mean, collectively, the proceeds of Bonds, any special taxes
 collected to directly finance Facilities (as set forth in but subject to the limitations of Section 3.04)
 and prepayments of special taxes applied to the costs of Facilities (as set forth in Section 3.05), as
 further described in Section 3 herein.




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         "Goals and Policies" means the Land Secured Financing Policy of the City of Coachella,
  dated February 14, 2018. The Goals and Policies dated February 14, 2018 shall be applicable to the
  CPD (as it currently exists or as it may be modified in the future).

          "Improvement Fund" means the Improvement Fund, and the following two subaccounts
  thereof: City Facilities Account; and the Other Facilities Account.

        "Other Facilities Account" means the subaccount of the Improvement Fund by that name
  from which the CSD Facilities may be funded.

         "Owner" means Glenroy Coachella, LLC, a Delaware limited liability company, and its
  successors and assigns to the extent pennitted under Section 12.06 hereof.

         "Payment Request" means a document, substantially in the form of Exhibit "C" hereto, to be
  used by the Owner in requesting payment of a Purchase Price or funding with respect to one or more
  City Facilities or Discrete Components thereof or any City Fees.

           "Plans" means the plans, specifications, schedules and related construction contracts for the
  Facilities and/or any Discrete Components thereof approved pursuant to the applicable standards of
  the City or other entity that will own or operate the Facilities when completed and acquired.

          "Principal Payment Date" shall mean, with respect to Bonds issued, the semi-annual payment
  date in which principal or sinking fund payments on such Bonds are, in any year, payable. For
  example, if the principal amount of Bonds are payable on September 1, the Principal Payment Date
  shall be September 1, regardless of whether principal payments are actually due in any particular
  year.

         "Purchase Price" means the amount paid by the City for a Facility and/or any Discrete
  Components thereof determined in accordance with Article V hereof, being an amount equal to the
  Actual Cost of such Facility or Discrete Component, but subject to any limitations and reductions
  provided for in Article V.

          "Rate and Method" means the rate and method of apportiomnent of the special tax for the
  CPD.

           "Substantially Complete(d)" with respect to a Facility or Discrete Component means that
  such Facility or Discrete Component is substantially complete in accordance with its Plans and is
  available for use by the public for its intended purpose, notwithstanding any final "punch list" items
  still required to be completed, unless such items are required for the safe operation of such Facility or
  Discrete Component, and shall be based upon approval of the City inspector, which shall not be
  unreasonably withheld.

        "Supplement" means a written document amending, supplementing or otherwise modifying
 this Acquisition Agreement and any exhibit hereto, or the list of Facilities to be financed by the
 Funding Sources.




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                                               ARTICLE II.
                                                RECITALS

           Section 2.01 The CFD. The City Council of the City is the legislative body of the CFD
  established under the Act for the financing of, among other things, the acquisition, construction and
  installation of public facilities identified in the proceedings to fmm the CFD, which include the
  Facilities listed in Exhibit "A" hereto.

          Section 2.02 The Development. The real property in the CFD is described in Exhibit "B"
  hereto (the "Property"). The Owner proposes to develop the Property as a commercial development
  containing resort villas housing approximately 400 rooms, a multi-stmy hotel (consisting of 130
  rooms, convention space, pools and other amenities), retail facilities and other uses (the
  "Development").

          Section 2.03 The Facilities. The Owner will benefit from a coordinated plan of design,
  engineering and construction of the Facilities and the development of the land. The Owner
  acknowledges that the inclusion of Facilities in Exhibit "A" hereto in no way, in itself, obligates the
  City to issue any Bonds to acquire the Facilities from the Owner or implies that the City has in any
  way engaged the Owner to construct the Facilities. The City and CFD acknowledge that the
  inclusion of Facilities in Exhibit "A" hereto in no way, in itself, obligates the Owner to construct any
  such Facilities under the terms of this Acquisition Agreement.

          Section 2.04 The Financing. The Owner and the City wish to finance the acquisition of
  the Facilities and the payment therefor by entering into this Acquisition Agreement for the
  acquisition of the Facilities and payment for Discrete Components thereof (as it may be amended and
  supplemented) from the Funding Sources.

          Section 2.05 The Bonds. The CFD will be proceeding with the authorization and issuance
  of the Bonds under the Act and the Fiscal Agent Agreement, the proceeds of which Bonds shall be
  used, in part, to finance the acquisition of all or a portion of the Facilities. The execution by the City
  and the CFD of this Acquisition Agreement in no way obligates the City or the CFD to issue any
  Bonds, or to acquire any Facilities with proceeds of any Bonds issued, except the Facilities listed in
  Exhibit "A" hereto which are to be acquired subject to the terms and conditions set forth in this
  Acquisition Agreement.

           Section 2.06 No Advantage to City Construction. The City, by its approval of this
  Acquisition Agreement, has determined that it will obtain no advantage from undertaking the
  construction by the City directly of the City Facilities, and, except for those facilities identified in
  Exhibit A as Completed Facilities, that the provisions of this Acquisition Agreement require that the
  Facilities to be constructed by the Owner and acquired with the proceeds of the Bonds be constructed
  as if they had been constructed under the direction and supervision of the applicable Public Agency,
  as set forth in Section 4.02 below. Notwithstanding anything in this Acquisition Agreement to the
  contrary, upon the mutual agreement of the City and the Owner and upon an Event of Default, the
  City and the Owner may allocate a portion of the Funding Sources to the construction of City
  Facilities that are constructed by the City.

          Section 2.07 Agreements. In consideration of the mutual promises and covenants set forth
  herein, and for other valuable consideration, the receipt and sufficiency of which are hereby


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  acknowledged, the City and the Owner agree that the foregoing recitals, as applicable to each, are
  true and correct and further make the agreements set forth herein.

                                             ARTICLE III.
                                              FUNDING

          Section 3.01 District Proceedings. The CFD shall conduct all necessary proceedings
  under the Act for the issuance, sale and delivery of the Bonds; provided, however, that nothing herein
  shall be construed as requiring the CFD to issue the Bonds or any series thereof. The Owner and the
  City staff shall meet regarding the amount, timing and other material aspects of each series of the
  Bonds, but the legal proceedings and the series, principal amounts, rates, tenns and conditions and
  timing of the sale of the Bonds shall be consistent with this Acquisition Agreement and in all respects
  subject to the approval of the City Council as legislative body of the CFD.

           Section 3.02 Bond Proceeds. The proceeds of the Bonds shall be deposited, held,
  invested, reinvested and disbursed as provided in the Fiscal Agent Agreement and this Acquisition
  Agreement. A portion of the proceeds of the Bonds will be set aside under the Fiscal Agent
  Agreement in the Improvement Fund and upon the direction of the Owner used to finance City
  Facilities and CSD Facilities. Moneys in the Improvement Fund shall be withdrawn therefrom in
  accordance with the provisions of the Fiscal Agent Agreement and the applicable provisions hereof
  for payment of all or a portion of the costs of construction and/or acquisition of the Facilities
  (including payment of the Purchase Price of Discrete Components thereof), and payment or
  reimbursement of City Fees and CSD Fees all as herein provided or as provided in the CSD JCF A;
  provided, however, that City Fees shall be financed only if the City shall certify in connection with
  such financing of City Fees that it reasonably expects to spend Bond proceeds attributable to the
  financing of such City Fees on public capital improvements within three years from the date of
  issuance of the Bonds.

          Unless otherwise requested in writing by the Owner prior to issuance of each series of Bonds,
 earnings on amounts in a subaccount of the Improvement Fund shall be retained in the respective
 subaccount of the Improvement Fund until all Facilities have been financed, as evidenced by a
 certificate provided by the Owner, or Owner provides a certificate to the CFD indicating that the
 funds on deposit in the Improvement Fund are sufficient to finance the remaining Facilities for which
 the Owner expects to submit a payment request. Earnings on amounts in the reserve fund(s) for the
 Bonds in excess of the applicable reserve requirement shall be deposited in the fund established by
 the Fiscal Agent Agreement for payment of debt service on the Bonds.

         The City agrees to include capitalized interest for eighteen (18) months in each series of
 Bonds, unless the Owner requests capitalized interest for a shorter period prior to issuance of each
 series of Bonds.

         The Owner agrees that the City alone shall direct the investment of the funds on deposit in
 the funds and accounts established by or pursuant to the Fiscal Agent Agreement, including the
 Improvement Fund, and that the Owner has no right whatsoever to direct investments under the
 Fiscal Agent Agreement.

         Neither the City nor the CFD shall have any responsibility whatsoever to the Owner with
 respect to any investment of funds made by the Fiscal Agent under the Fiscal Agent Agreement,
 including any loss of all or a portion of the principal invested or any penalty for liquidation of an

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  investment. Any such loss may diminish the amounts available in the Improvement Fund to pay the
  Purchase Price of Facilities and Discrete Components hereunder. The Owner further acknowledges
  that the obligation of any owner of real property in the CFD, including the Owner to the extent it
  owns any real property in the CFD, to pay special taxes levied in the CFD is not in any way
  dependent on: (i) the availability of amounts in the Improvement Fund to pay for all or any portion
  of the Facilities or Discrete Components thereof, or (ii) the alleged or actual misconduct of the City
  or CFD in the performance of its obligations under this Acquisition Agreement, the Fiscal Agent
  Agreement, any Owner agreement or amendment thereto or any other agreement to which the Owner
  and the CFD and/or the City are signatories.

          Section 3.03 No "Pay Go" Taxes Following the Issuance of Bonds. Following the
  issuance of Bonds, the CFD shall not levy taxes directly to pay for the costs of acquiring Facilities.
  Prior to the issuance of any Bonds the CFD shall levy special taxes on all parcels of Developed
  Property (as defined in the Rate and Method) at the assigned special tax rates and use such funds to
  pay for the costs of administering the CFD and for the costs of acquiring Facilities.

           Section 3.04 Prepayments. To the extent authorized under the Rate and Method, any
  prepayments of special tax obligations that the Rate and Method requires to be used to pay for
  Facilities, whether before or after the issuance of the Bonds, shall be placed in a special fund to be
  held by the City (the "Prepayment Fund"). Moneys in the Prepayment Fund shall be a source for the
  payment of the costs of the acquisition of the Facilities and the Discrete Components thereof and the
  payment of Authorized Fees and shall be applied in the same manner as the proceeds of Bonds.
  Notwithstanding anything in this Section 3.05 to the contrary, the Owner and the City agree that if
  only one series of Bonds is issued, then the City shall no longer collect any Future Facilities Costs (as
  defined in the Rate and Method) in connection with a prepayment of Special Taxes after such Bonds
  are issued.

           Section 3.05 Limitation. The City shall not be obligated to pay the Purchase Price of the
  Facilities or any Discrete Components thereof or the Authorized Fees except from amounts on
  deposit in the Prepayment Fund, and the Improvement Fund in any combination. The City makes no
  warranty, express or implied, that amounts on deposit in the Prepayment Fund, and the Improvement
  Fund will be sufficient for payment of the Purchase Price of the Facilities or any Discrete
  Components thereof or the Authorized Fees. The Owner acknowledges that any lack of availability
  of amounts in the Prepayment Fund, and the Improvement Fund to pay the Purchase Price of
  Facilities or any Discrete Components thereof and the Authorized Fees shall in no way diminish any
  obligation of the Owner with respect to the construction of or contributions for public facilities or the
  payment of fees required by the conditions of approval for the project.

                                       ARTICLE IV.
                              CONSTRUCTION OF CITY FACILITIES

          Section 4.01 Plans. To the extent that it has not already done so, the Owner shall cause
  Plans to be prepared for the City Facilities to be constructed by Owner and funded with the Funding
  Sources. Upon completion of the Plans for each City Facility to the satisfaction of the City in
  accordance with applicable ordinances and regulations of the City, the City shall immediately notify
  Owner that the Plans are completed and acceptable to the City. Copies of all Plans shall be provided
  by the Owner to the Director upon request therefor, and, in any event, as-built drawings and a written
  assignment of the Plans for any City Facility shall be provided to the City prior to its acceptance of
  the City Facility.

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           Section 4.02 Construction. Subject to all of the provisions of this Agreement, the City
  agrees to acquire from the Owner those Facilities listed in Exhibit A which are constructed by the
  Owner and tendered for acquisition in accordance with the provisions of this Agreement. The Owner
  agrees that any Facility being constructed by, or under the direction of, the Owner and to be acquired
  by the City after the formation of the CFD shall be constructed in substantial compliance with the
  approved Plans and in compliance with the requirements of Government Code Section 53313 .5,
  which requires those improvements to be constructed as if such improvements had been constructed
  under the direction and supervision, or under the authority, of the City. The Owner shall require its
  contractor or contractors to pay the prevailing rate of per diem wages for work of a similar character
  in the locality of the CFD and not less than the general prevailing rate of per diem wages for holiday
  and overtime work, as provided in Section 1771 et seq. of the California Labor Code, to all workers
  employed by each such contractor in the construction of the Facilities. As to each Facility, the
  Owner shall obtain from its contractor or contractors and furnish to the City payroll records for a
  minimum of one payroll period as to all such workers employed by the contractor or contractors
  demonstrating compliance with the requirements of Section 1771 et seq. of the California Labor
  Code. In addition to any other warranty or indemnification set forth in this Agreement, the Owner
  specifically warrants that it and its contractors, subcontractors, successor and assigns shall comply
  with the provisions of California Labor Code Section 1771 et seq. or any similar applicable state or
  federal laws relating to payment of the prevailing wage as set forth above. The Owner shall
  indemnify, defend and hold harmless the City and the CFD in any action brought by any person,
  entity or state or federal governmental agency for any failure to pay the prevailing wage or to comply
  with the applicable law governing payment of the prevailing wage.

          This Acquisition Agreement is for the acquisition by the City of the City Facilities to be
 constructed by Owner and funded with the Funding Sources and payment for City Facilities and
 Discrete Components and CSD Facilities (in accordance with the CSD JCFA) thereof from such
 Funding Sources and is not intended to be a public works contract. Except for the Completed
 Facilities, the City and the Owner agree that the Owner shall award all contracts for the construction
 of the City Facilities to be constructed by Owner, acquired by the City and funded with the Funding
 Sources and the Discrete Components thereof and that this Acquisition Agreement is necessary to
 assure the timely and satisfactory completion of such City Facilities. Notwithstanding the foregoing,
 the Owner shall award all contracts for construction of the City Facilities (other than Completed
 Facilities) to be acquired by City with the Funding Sources by means of a bid process whereby at
 least three independent bids are obtained, and the contract is awarded to the lowest responsible
 bidder. The Director shall be entitled to discuss the bidding process with the Owner at any time and
 from time to time, and to require reasonable changes thereto for future contracts if, in the judgment
 of the Director, said process is not resulting in competitive bids for the City Facilities.
 Notwithstanding the foregoing, Owner may proceed with fewer than three bids if the City reasonably
 detennines that three bids were not reasonably available at the time of the bid.

         Section 4.03 Independent Contractor.            In perfo1ming its obligations under this
 Acquisition Agreement, the Owner is an independent contractor and not the agent or employee of the
 City or the CFD. Neither the City nor the CFD shall be responsible for making any payments to any
 contractor, subcontractor, agent, consultant, employee or supplier of the Owner.

         Section 4.04 Performance and Payment Bonds. The Owner agrees to comply with all
 applicable performance and payment bonding requirements of the City (and other applicable public
 entities and/or public utilities) and the California Public Contracts Code with respect to the


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  construction of the City Facilities to be constructed by Owner, acquired by City and funded with the
  Funding Sources.

          Section 4.05 Contracts and Change Orders. The Owner shall be responsible for entering
  into all contracts and any supplemental agreements (commonly referred to as "change orders")
  required for the construction of the City Facilities to be constructed by Owner, acquired by City and
  funded with the Funding Sources, and all such contracts and supplemental agreements shall be
  submitted to the Director. Except for Completed Facilities, prior approval of supplemental
  agreements by the Director shall only be required for such change orders which in any way
  materially alter the quality or character of the subject City Facilities, or which involve an amount
  equal to the greater of ten percent (10%) of the amount of the bid for the Discrete Component
  involved or $50,000 for supplemental agreements entered into subsequent to the date of this
  Acquisition Agreement. The City expects that such contracts and supplemental agreements needing
  prior approval by the Director will be approved or denied (any such denial to be in writing, stating
  the reasons for denial and the actions, if any that can be taken to obtain later approval) within fifteen
  (15) Business Days ofreceipt by the Director thereof.

          Section 4.06 Time for Completion. The Owner agrees that this Acquisition Agreement is
  for the benefit of the City and the Owner and, therefore, the Owner represents that it expects that the
  City Facilities to be constructed by Owner, acquired by City and funded with proceeds of a series of
  Bonds will be completed and the payment request for such City Facilities submitted within thirty-six
  (36) calendar months from the date of the closing of such series of Bonds. Any failure to complete
  such City Facilities within said time period shall not, however, in itself, constitute a breach by the
  Owner of the tenns of this Acquisition Agreement.

         The Owner agrees to use its good faith efforts to complete all City Facilities to be constructed
  by Owner, acquired by City and funded with proceeds of a series of Bonds within thirty-six (36)
  calendar months from the date of closing of such series of Bonds.

                                          ARTICLE V.
                                   ACQUISITION AND PAYMENT

          Section 5.01 Inspection. The City's inspector shall conduct its inspection within fifteen
 (15) Business Days following notice from the Owner to the City that the construction of each City
 Facility or Discrete Component thereof to be acquired with the Funding Sources is complete. Upon
 the City inspector's dete1mination that construction of the City Facility or Discrete Component
 thereof has been completed in accordance with the Plans, the City shall immediately notify Owner in
 writing that the construction of such City Facility or Discrete Component thereof has been
 satisfactorily completed. No payment hereunder shall be made by the City to the Owner for a City
 Facility or Discrete Component thereof until the City Facility or Discrete Component thereof has
 been inspected and found to be completed in accordance with the approved Plans by the City or other
 applicable public entity or utility. The City shall make or cause to be made periodic site inspections
 of the City Facilities to be constructed by Owner and acquired by City with the Funding Sources;
 provided that in no event shall the City incur any liability for any delay in the inspection of any City
 Facilities or Discrete Components. For City Facilities to be constructed by Owner, acquired by other
 public entities or utilities and funded with proceeds of the Bonds, the Owner shall be responsible for
 obtaining such inspections and providing written evidence thereof to the CPD. The reasonable costs
 incurred by the City in inspecting and approving the City Facilities to be constructed by Owner,
 acquired by City and funded with the Funding Sources and all related petmit and other similar fees of

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  the City applicable to construction of such City Facilities shall be paid by Owner or, at the election of
  the City, from the Funding Sources.

           Section 5.02 Acquisition of City Facilities. Upon completion of a City Facility to be
  constructed by Owner, and funded with the Funding Sources, Owner hereby agrees to sell the City
  Facility to the City (or other applicable public agency that will own such City Facility), and the City
  hereby agrees to use the Funding Sources to pay the Purchase Prices thereof to the Owner, subject to
  the terms and conditions hereof. The City shall not be obligated to purchase any City Facility until
  the City Facility is completed and the Acceptance Date for such City Facility has occmTed; provided
  that the City has agreed hereunder to make payments to the Owner for Discrete Components of City
  Facilities. The Owner acknowledges that the Discrete Components have been identified for payment
  purposes only, and that the City (or other applicable public agency that will own a City Facility) shall
  not accept a City Facility of which a Discrete Component is a part until the entire City Facility has
  been completed. The City acknowledges that the Discrete Components do not have to be accepted
  by the City (or other applicable public agency that will own a City Facility) as a condition precedent
  to the payment of the Purchase Price therefor, but the City shall not be obligated to make such
  payment until the Discrete Component has been Substantially Completed. In any event, the City
  shall not be obligated to pay the Purchase Price for any City Facility or Discrete Component except
  from the Funding Sources.

           Section 5.03 Payment Requests. In order to receive the Purchase Price for a City Facility
  or Discrete Component thereof, inspection thereof under Section 5.01 shall have been made and the
  Owner shall deliver to the Director: (i) a Payment Request in the form of Exhibit "C" hereto for such
  City Facility or Discrete Component thereof, together with all supporting documentation evidencing
  the Actual Costs of the City Facility or Discrete Component thereof; (ii) if payment is requested for a
  completed City Facility, (a) if the property on which the City Facility is located is not owned by the
  City at the time of the request, a copy of the recorded documents conveying to the City Acceptable
  Title to the real property on, in or over which such City Facility is located, as described in
  Section 6.01 hereof, (b) a copy of the recorded notice of completion of such City Facility (if
  applicable), (c) to the extent paid for with the proceeds of the Bonds, an assignment to the CPD of
  any reimbursements that may be payable with respect to the City Facility, such as public or private
  utility reimbursements, and (d) an assignment of the warranties and guaranties for such City Facility,
  as described in Section 6.05 hereof, in a form acceptable to the City; and (iii) if reimbursement is
  requested for City Fees advanced by a third party builder, proof acceptable to the City of the
  assignment of such reimbursement to the Owner.

         Section 5.04 Processing Payment Requests. Upon receipt of a Payment Request
 (including all accompanying supporting documentation evidencing the Actual Costs), the Director
 shall conduct a review in order to confinn that such request is complete, that such City Facility or
 Discrete Component thereof and identified therein was constructed in accordance with the Plans
 therefor, and to verify and approve the Actual Cost of such Discrete Component or City Facility
 specified in such Payment Request. The Director shall also conduct such review as is required in his
 discretion to confirm the matters certified in the Payment Request. The Owner agrees to cooperate
 with the Director in conducting each such review and to provide the Director with such additional
 information and documentation as is reasonably necessaiy for the Director to conclude each such
 review. For any City Facilities to be acquired by a utility, the Owner shall provide evidence
 acceptable to the Director that such City Facilities are acceptable to such utility. Within fifteen (15)
 Business Days of receipt of any Payment Request, the Director shall review the request for
 completeness and notify the Owner whether such Payment Request is complete, and, if not, what

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  additional documentation must be provided. If such Payment Request is complete, the Director shall
  provide a written approval or denial (specifying the reason for any denial) of the request within 30
  calendar days of its submittal. If a Payment Request seeking reimbursement for more than one City
  Facility or Discrete Component is denied, the Director shall state whether the Payment Request is
  nevertheless approved and complete for any one or more City Facilities or Discrete Components and
  any such City Facilities or Discrete Components shall be processed for payment under Section 5.05
  notwithstanding such partial denial.

          Section 5.05 Payment. Upon approval of the Payment Request by the Director, the
  Director shall sign the Payment Request and forward the same to the City finance department of the
  City. Upon receipt of the reviewed and fully signed Payment Request, the City finance department
  shall, within fifteen (15) Business Days ofreceipt of the approved Payment Request, cause the same
  to be paid by the Fiscal Agent under the applicable provisions of the Fiscal Agent Agreement, to the
  extent of the Funding Sources. Any approved Payment Request not paid due to an insufficiency of
  Funding Sources, shall be paid promptly following the deposit of additional Funding Sources.

          The Purchase Price paid hereunder for any City Facility or Discrete Component (in any
  number of installments as Funding Sources become available) shall constitute payment in full for
  such City Facility or Discrete Component, including, without limitation, payment for all labor,
  materials, equipment, tools and services used or incorporated in the work, supervision,
  administration, overhead, expenses and any and all other things required, furnished or incurred for
  completion of such City Facility or Discrete Component, as specified in the Plans.

         Section 5.06 Restrictions on Payments. Notwithstanding any other provisions of this
  Acquisition Agreement, the following restrictions shall apply to any payments made to the Owner
  under Sections 5.02 and 5.05 hereof:

                  A.      Amounts of Payments.        Subject to the following paragraphs of this
 Section 5.06, payments for each Discrete Component or City Facility will be made only in the
 amount of the Purchase Price for the respective Discrete Component or City Facility. Nothing herein
 shall require the City in any event (i) to pay more than the Actual Cost of a City Facility or Discrete
 Component or (ii) to make any payment beyond the Funding Sources (at the time of initial payment
 or later upon subsequent deposits to the Improvement Fund). The parties hereto acknowledge and
 agree that all payments to the Owner for the Purchase Prices of City Facilities or Discrete
 Components are intended to be reimbursements to the Owner for monies already expended or for
 immediate payment by the Owner (or directly by the City) to third parties in respect of such City
 Facilities and/or Discrete Components.

                 B.     Joint or Third Party Payments. The City may make any payment jointly to
 the Owner and any mortgagee or trust deed beneficiary, contractor or supplier of materials, as their
 interests may appear, or solely to any such third party, if the Owner so requests the same in writing or
 as the City otherwise determines such joint or third party payment is necessary to obtain lien releases.

                  C.      Withholding Payments. The City shall be entitled, but shall not be required,
 to withhold any payment hereunder for a Discrete Component or a Facility if the Owner or any
 Affiliate is delinquent in the payment of ad valorem real property taxes, special assessments or taxes,
 or special taxes levied in the CFD. In the event of any such delinquency, the City shall only make
 payments under this Section 5.06, should any be made at the City's sole discretion, directly to
 contractors or other third parties employed in connection with the construction of the City Facilities

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  or to any assignee of the Owner's interests in this Acquisition Agreement (and not to the Owner or
  any Affiliate), until such time as the Owner provides the Director with evidence that all such
  delinquent taxes and assessments have been paid.

          The City shall be entitled to withhold any payment hereunder for a City Facility or Discrete
  Component thereof that is the subject of a Payment Request until it is satisfied that any and all claims
  for labor and materials have been paid by the Owner for the City Facility or Discrete Component
  thereof that is the subject of a Payment Request, or conditional lien releases have been provided by
  the Owner for such City Facility or Discrete Component thereof, or until all certificates required by
  Section 5.03 have been obtained. The City, in its discretion, may waive this limitation upon the
  provision by the Owner of sureties, undertakings, securities and/or bonds of the Owner or appropriate
  contractors or subcontractors and deemed satisfactory by the Director to assure payment of such
  claims.

           The City shall be entitled to withhold payment for any City Facility (or the final Discrete
  Component of any such City Facility) hereunder to be constructed by Owner, acquired by City and
  reimbursed with the Funding Sources until: (i) the Director determines that the City Facility is ready
  for its intended use, (ii) the Acceptance Date for the City Facility has occuned and the requirements
  of Section 6.01, if applicable to such City Facility, have been satisfied, and (iii) a Notice of
  Completion executed by the Owner, in a form acceptable to the Director, has been recorded for the
  City Facility and general lien releases conditioned solely upon payment from the Funding Sources to
  be used to acquire such City Facility (or final Discrete Component) have been submitted to the
  Director for the City Facility. The City hereby agrees that the Owner shall have the right to post or
  cause the appropriate contractor or subcontractor to post a bond with the City to indemnify it for any
  losses sustained by the City because of any liens that may exist at the time of acceptance of such a
  City Facility, so long as such bond is drawn on an obligor and is otherwise in a form acceptable to
  the Director. If the Director determines that a City Facility is not ready for intended use under (i)
  above, the Director shall so notify the Owner as soon as reasonably practicable in writing specifying
  the reason(s) therefor.

          Nothing in this Acquisition Agreement shall be deemed to prohibit the Owner from
  contesting in good faith the validity or amount of any mechanics or materialman lien nor limit the
  remedies available to the Owner with respect thereto so long as such delay in performance shall not
  subject the City Facilities or any Discrete Component thereof to foreclosure, forfeiture or sale. In the
  event that any such lien is contested, the Owner shall only be required to post or cause the delivery of
  a bond in an amount equal to the amount in dispute with respect to any such contested lien, so long as
  such bond is drawn on an obligor and is otherwise in a form acceptable to the Director.

                 D.      Retention. The City may withhold in the Improvement Fund an amount equal
 to ten percent (10%) of the Purchase Price of each City Facility or Discrete Component to be paid
 hereunder. Any such retention will be released to the Owner upon final completion and acceptance
 of the related City Facility and the expiration of a maintenance period consistent with applicable City
 policy thereafter (a one year maintenance period for any landscaping, and upon receipt of a faithful
 performance bond acceptable to the Director to remain in effect for one year as to other City
 Facilities).

        Notwithstanding the foregoing, the Owner shall be entitled to payment of any such retention
 upon the completion and acceptance of a Facility or Discrete Component, if a maintenance or
 wananty bond is posted in lieu thereof in accordance with Section 6.05 hereof. Payment of any

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  retention shall also be contingent upon the availability of monies in the Improvement Fund therefore.
  No retention shall apply if the Owner proves to the Director's satisfaction that the Owner's contracts
  for the City Facilities ( or Discrete Components) provide for the same retention as herein provided, so
  that the Purchase Price paid for the City Facility or Discrete Component is at all times net of the
  required retention.

                E.      Frequency. Unless otherwise agreed to by the Director, no more than one
  Payment Request shall be submitted by the Owner in any calendar month, but the Payment Request
  may include more than one Facility or Discrete Component or Authorized Fee.

          Section 5.07 Allocation of Costs. If Owner incurs costs that (1) apply to more than one
  Facility or Discrete Component (e.g., soft costs) or (2) apply to both Facilities or Discrete
  Components and improvements other than the Facilities or Discrete Components (e.g., grading),
  Owner shall allocate, or cause the contractor to reasonably allocate, such costs between the Facilities
  or Discrete Components (in the case of clause (1)) or between the Facilities or Discrete Components
  and the improvements other than the Facilities or Discrete Components (in the case of clause (2))
  (the "Owner Allocation"). The City shall notify Owner of its good-faith reasonable disapproval of
  any Owner Allocation within fifteen ( 15) Business Days of submittal of the payment request. If the
  City has disapproved the Owner Allocation, then the City and Owner shall promptly allocate such
  costs, on a reasonable basis, between the Facilities or Discrete Components (in the case of clause (1))
  or between the Facilities or Discrete Components and the improvements other than the Facilities or
  Discrete Components (in the case of clause (2)) (the "Agreed-Upon Allocation"). Based on the
  Owner Allocation or the Agreed-Upon Allocation, if applicable, the City shall include the costs
  allocated to a specific Facility or Discrete Component as part of the Actual Costs of such Facility or
  Discrete Component when such Facility or Discrete Component is subject to a payment request.

          Section 5.08 Expectations of the Parties. The City understands and agrees that (i) the
 Owner will be constructing City Facilities (and Discrete Components) prior to the availability of the
 Funding Sources that will be used to pay for such City Facilities (and Discrete Components), (ii) the
 City may be inspecting such City Facilities (or Discrete Components) and processing and completing
 Payment Requests for the payment on such City Facilities (or Discrete Components) with knowledge
 that there may be insufficient Funding Sources available at such time, (iii) the City Facilities ( or
 Discrete Components) may be conveyed to and accepted by the City when there are insufficient
 Funding Sources to pay the Purchase Prices of such City Facilities (or Discrete Components), and
 (iv) in any such case, the payment of any approved Payment Requests for the Purchase Prices of such
 City Facilities (or Discrete Components) will be deferred until there are sufficient Funding Sources
 available to pay the Purchase Prices of such City Facilities (or Discrete Components), at which time
 the City will make such payments in accordance with this Acquisition Agreement. At all times, the
 Owner will be constructing such City Facilities ( or Discrete Components) with the expectation that
 the Purchase Prices for such City Facilities (or Discrete Components) will be paid from the Funding
 Sources. The conveyance of City Facilities (or Discrete Components) to the City prior to receipt of
 the Purchase Prices for such City Facilities (or Discrete Components) shall not be construed as a
 dedication or gift, or a waiver of the payment of the Purchase Prices, or any part thereof, for such
 City Facilities (or Discrete Components). The Owner acknowledges that the Funding Sources may
 not be sufficient to reimburse the Owner for all of its costs incurred to complete or pay for the
 Facilities.

         Section 5.09 Defective or Nonconforming Work. If any of the work done or materials
 furnished for a City Facility or Discrete Component are found by the Director to be defective or not

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  in accordance with the applicable Plans: (i) and such finding is made prior to payment for the
  Purchase Price of such City Facility or Discrete Component hereunder, the City may withhold
  payment therefor until such defect or nonconformance is corrected to the satisfaction of the Director,
  or (ii) and such finding is made after payment of the Purchase Price of such City Facility or Discrete
  Component, the City and the Owner shall act in accordance with the City's standard specification for
  public works construction.

          Section 5.10 Modification of Discrete Components. Upon written request of the Owner,
  the Director shall consider modification of the description of any Facility or Discrete Component or
  the addition or substitution of Facilities and Discrete Components. Any such modification shall be
  subject to the written approval of the Director, which will not be unreasonably delayed.

                                    ARTICLE VI.
                      OWNERSHIP AND TRANSFER OF CITY FACILITIES

          Section 6.01 Facilities to be Owned by the City - Conveyance of Land and Easements
  to City. Owner shall provide Acceptable Title to all property on, in or over which each City Facility
  to be constructed by Owner, acquired by the City and funded out of the Funding Sources will be
  located, which Acceptable Title shall be deeded over to the City by way of grant deed, quitclaim, or
  dedication of such property, or easement thereon, if such conveyance of interest is approved by the
  City as being a sufficient interest therein to permit the City to properly own, operate and maintain
  such City Facility located therein, thereon or thereover, and to permit the Owner to perform its
  obligations as set forth in this Acquisition Agreement. Completion of the transfer of title to land
  shall be accomplished prior to the payment of the Purchase Price for a City Facility and shall be
  evidenced by recordation of the acceptance thereof by the City Council or the designee thereof.

          Section 6.02 Facilities to be Owned by the City - Title Evidence. The Owner shall
 furnish to the City a preliminary title report for land with respect to City Facilities to be constructed
 by Owner, acquired by the City and funded out of the Funding Sources and not previously dedicated
 or otherwise conveyed to the City, for review and approval at least fifteen (15) Business Days prior
 to the transfer of Acceptable Title to such City Facility to the City. The City shall approve the
 preliminary title report unless it reveals a matter which, in the reasonable judgment of the City, could
 materially affect the City's use and enjoyment of any pa1i of the prope1iy or easement covered by the
 preliminary title report. In the event the City does not approve the preliminary title report, the City
 shall not be obligated to accept title to such City Facility or pay the Purchase Price for such City
 Facility (or the last Discrete Component thereof) until the Owner has cured such objections to title to
 the satisfaction of the City. As a further precondition to the payment of the Purchase Price for a City
 Facility, the Owner shall provide a policy of title insurance on such land, in an amount determined by
 the Director, which is equal to or, with the consent of the Owner, greater than the Purchase Price for
 a City Facility and in the fonn normally required by the City in connection with the dedication of
 land for subdivision improvements.

          Section 6.03 Facilities Constructed on Private Lands. If any City Facilities to be
 constructed by Owner, acquired by the City and funded out of the Funding Sources are located on
 privately-owned land, the owner thereof shall retain title to the land and the completed City Facilities
 until acquisition of the City Facilities under Article V hereof. Pending the completion of such
 transfer, the Owner shall not be entitled to receive any payment for any such City Facility or the last
 Discrete Component thereof. The Owner shall, however, be entitled to receive payment for Discrete
 Components of City Facilities (other than the last Discrete Component) upon making an irrevocable

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  offer of dedication of such land, or appropriate interest therein, in form and substance acceptable to
  the Director. Notwithstanding the foregoing, before payment for any Discrete Component of such a
  City Facility, the Owner shall convey or cause to be conveyed Acceptable Title thereto in the manner
  described in Sections 6.01 and 6.02 hereof. If the land is within the boundaries of any existing
  community facilities district (including the CPD), an assessment district, or other financing district,
  then the lien of the special taxes or assessments shall be a permitted exception to title so long as the
  land, while owned by the City or other public agency, is exempt from the special tax or assessments
  to be levied by the community facilities district, assessment district, or other financing district.

          Section 6.04 Facilities Constructed on City Land. If the City Facilities to be constructed
  by Owner, acquired by the City and funded out of the Funding Sources are on land owned by the
  City, the City hereby grants to the Owner a license to enter upon such land for purposes related to the
  construction (and maintenance pending acquisition) of the City Facilities. The provisions for
  inspection and acceptance of such City Facilities otherwise provided herein shall apply.

           Section 6.05 Maintenance and Warranties. The Owner shall maintain each Discrete
  Component of a City Facility to be constructed by Owner, acquired by the City and funded out of
  proceeds of the Funding Sources in good and safe condition until the Acceptance Date of the City
  Facility of which such Discrete Component is a part. Prior to the Acceptance Date, the Owner shall
  be responsible for performing any required maintenance on any such completed Discrete Component
  or City Facility. On or before the Acceptance Date of a City Facility to be constructed by Owner,
  acquired by City and funded with the Funding Sources, the Owner shall assign to the City all of the
  Owner's rights in any wairnnties, guarantees, maintenance obligations or other evidence of
  contingent obligations of third persons with respect to such City Facility. After the Acceptance Date,
  and subject to the City's rules and regulations in effect at the time of this Acquisition Agreement, the
  acquiring public agency shall be solely responsible for maintenance of the City Facility. With
  respect to each City Facility constructed by Owner, acquired by City and funded with the Funding
  Sources, the Owner shall warrant each such City Facility to be free from construction defects (and
  shall correct or cause to be corrected any such defects) for a period of one year from the Acceptance
  Date thereof, and shall provide a maintenance bond reasonably acceptable in form and substance to
  the Director for such period and such purpose to insure that such defects, which appear within said
  period will be repaired, replaced, or corrected by the Owner, at its own cost and expense, to the
  satisfaction of the Director. The Owner shall continue to repair, replace or correct any such defects
  within thirty (30) calendar days after written notice thereof by the City to the Owner, and shall
  complete such repairs, replacement or correction as soon as practicable. Any warranties, guarantees
  or other evidences of contingent obligations of third persons with respect to the City Facilities to be
  constructed by Owner, acquired by City and funded with the Funding Sources shall be delivered to
  the Director as part of the transfer of title. For purposes of this Acquisition Agreement, following
  conveyance of a City Facility to the City, the terms "maintain" and "maintenance" mean the repair,
  replacement, or correction of any defects in the City Facility, and shall not mean the day-to-day
  upkeep or correction of normal wear and tear of the City Facility (such as watering or weeding for
  landscape improvements, painting, graffiti removal, etc.).

                                          ARTICLE VII.
                                      PAYMENT OF CITY FEES

         Section 7.01 Request for Payment of City Fees. The Owner may request payment of
  City Fees from the Funding Sources by executing and submitting to the CPD a payment request.


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  Upon receipt of such payment request, the CFD shall pay, or cause to be paid, to the City the City
  Fees requested in such payment request, subject to the following conditions:

                  A.       The City Fees shall be payable only to the extent of available Funding
  Sources and only if and to the extent there are no additional eligible City Facilities, CSD Facilities or
  CSD Fees to be paid or acquired, as applicable; and provided further that City Fees shall be financed
  only if the City shall certify in connection with such financing of City Fees that it reasonably expects
  to spend Bond proceeds attributable to the financing of such City Fees on public capital
  improvements within three years from the date of issuance of the Bonds. Notwithstanding the
  foregoing, the Owner understands that the City Fees are an obligation of the Owner or its assignees
  for the public impacts created by the Owner's or its assignees development of the real property
  within the CFD. Whether or not funds become available from the Funding Sources to pay City Fees,
  the owner of the property at the time such City Fees are due is obligated to pay the City Fees.

                  B.     The City Fees shall be payable only to the extent that the City has not
  provided Development Impact Fee credits for such City Fees pursuant to the Development
  Agreement. For example, if the City Fee is $3,000 per unit, and the Owner constructs facilities
  equivalent to $2,000 per unit and the City provides a credit of $2,000 against the City Fee, then only
  $1,000 per unit may be financed by the Funding Sources.

          Section 7 .02 Payment of City Fees in Advance of Availability of Funding Sources. The
 Owner may be required pursuant to the conditions of development or the fee ordinance to pay the
 City Fees prior to the availability of the Funding Sources to pay such City Fees. In the event such
 City Fees are paid prior to the availability of the Funding Sources, the amounts paid to the City shall
 be deemed to be deposits (each a "Deposit") that are subject to refund by the City to Owner (and the
 Owner only, regardless of the entity that paid the Deposits). The City shall place each Deposit in a
 capital facilities account( s).

          Section 7.03 Return of Deposits. If the Owner has made any Deposits to the City, then
 following deposit of Funding Sources with the City for the corresponding City Fees, the City shall
 return to the Owner (and the Owner only, regardless of the entity that paid the Deposit), from the
 capital account in which the Deposits were deposited the Deposits not previously returned, without
 interest or other earnings thereon. The City shall be so obligated to return such Deposits only to the
 extent that an equivalent amount of the Deposits to be returned is deposited with the City from the
 Funding Sources. The Deposits may be returned from time to time as additional Funding Sources
 become available.

         Section 7.04 Deposits Allocated First. Funding Sources used to pay City Fees shall be
 allocated first for return of all Deposits prior to being allocated to the payment of City Fees not
 previously deposited by the Owner. For example, if the Owner has paid $10,000 in Deposits, and
 Funding Sources become available in the amount of $15,000, the City shall apply the first $10,000 of
 the Funding Sources to the payment of the City Fees that were paid by the Deposits (and, thereafter,
 return the Deposits to the Owner) and use the remaining $5,000 of the Funding Sources to the
 payment of City Fees identified in the payment requisition.

         Section 7 .05 Application of Deposits. Any Deposits that have not been returned to the
 Owner at the time it is determined that there will be no further Funding Sources available (now or in
 the future) shall be retained by the City and may be used for the purposes for which the City Fee was


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  required, and the unrefunded Deposits shall constitute full and final payment for such City Fees,
  without any increase of any kind.

          Section 7.06 Expectations. The Owner may pay City Fees (as Deposits) prior to the
  availability of Funding Sources to pay such City Fees. Any City Fees paid (as Deposits) by the
  Owner shall be made with the understanding that such Deposits will be returned from the Funding
  Sources if, and when, such Funding Sources become available. The payment of Deposits prior to the
  availability of the Funding Sources shall not be construed as a dedication or gift of the City Fees, or a
  waiver of the return of the Deposits, it being the intention that the City Fees be paid by the Funding
  Sources to the extent of the Funding Sources.

           Section 7 .07 Return of Funds Following DIF Fee Credits. If the City provides fee
  credits against a Development Impact Fee as the result of the Owner constructing Facilities, any
  deposits made by the Owner or any other patiy to secure the payment of the subject Development
  Impact Fee shall be returned in accordance with the City's procedures for returning deposits
  following a DIP Fee credit. To the extent that there remains any deposit of the Development Impact
  Fees that are otherwise City Fees for which credit was not provided, such amounts shall be
  considered Deposits within the meaning set forth in Section 7.02 and shall be returned to the Owner
  upon the funding of such differential from Funding Sources, as set fmih in this Article VII. Nothing
  in this Article VII shall adversely affect the financing of Facilities for which a DIP credit is provided.
  For example, if the City Fee is $3,000 per unit, and the Owner constructs Facilities equivalent to
  $2,000 per unit and the City provides a credit of $2,000 against the City Fee, both the $1,000
  remaining portion of the City Fee as well as the costs of the Facilities from which the credit was
  derived may be financed by the Funding Sources under this Agreement. The $2,000 portion of the
  City Fee shall not be financed by the Funding Sources and any deposits returned pursuant to the
  City's policies as a result of the DIP Fee credit shall not be considered a Deposit within the meaning
  of Section 7.02.

                                             ARTICLE VIII.
                                              INSURANCE

          Section 8.01 Insurance Requirements. The Owner shall, at all times prior to the final
  Acceptance Date of all City Facilities to be constructed by Owner, acquired by City and funded out
  of the Funding Sources, maintain and deliver to the City evidence of and keep in full force and effect,
  or cause the general contractor for such City Facilities to maintain and deliver to the City evidence of
  and keep in full force and effect, not less than the following coverage and limits of insurance, which
  shall be maintained with insurers and under forms of policies satisfactory to the Director:
  (i) Workers, Compensation and Employer's Liability - Workers' Compensation coverage as required
  by law; Employer's Liability - limits of at least $100,000.00 per occurrence; (ii) Comprehensive
  General Liability - Combined Single Limit - $1,000,000.00; and (iii) Automobile Liability -
  Combined Single Limit - $1,000,000.00. The automobile and general comprehensive liability
  policies shall be accompanied by an umbrella policy with a combined limit of $5,000,000.00. All of
  the Owner's insurance policies shall contain an endorsement providing that written notice shall be
  given to the City at least 30 calendar days prior to termination, cancellation, or reduction of coverage
  in the policy.

          The Bodily Injury and Property Damage Liability policies shall contain the following:



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                  A.      An endorsement extending coverage to the City and its agents as an insured,
  in the same manner as the named insured as respects liabilities arising out of the performance of any
  work related to the City Facilities to be constructed by Owner, acquired by City and funded out of the
  Funding Sources. Such insurance shall be primary insurance as respects the interest of the City, and
  any other insurance maintained by the City shall be excess and not contributing insurance with the
  insurance required hereunder.

                  B.      Severability of Interest clause.

               C.      Provision or endorsement stating that such insurance, subject to all of its other
  terms and conditions, applies to the liability assumed by the Owner under this Acquisition
  Agreement.

          Before awarding a contract for the construction of the City Facilities to be acquired with the
  Funding Sources, the Owner shall deliver to the Director certificates of insurance and endorsements
  as to such insurance, in a form acceptable to the City and the City Attorney, and Owner shall upon
  each renewal of such insurance policy provide the City with new certificates of insurance with
  respect thereto.

         The Owner shall require and verify the same insurance on the part of its contractors and
  subcontractors.

            The foregoing requirements as to the types, limits and City approval of insurance coverage to
  be maintained by the Owner are not intended to and shall not in any manner limit or qualify the
  liabilities and obligations assumed by the Owner under this Acquisition Agreement.

          Any policy or policies of insurance that the Owner or its contractors or subcontractors elect
 to carry as insurance (i) against loss or damage to their construction equipment and tools or other
 personal property used in fulfillment of this Acquisition Agreement or a contract related to the City
 Facilities to be constructed by Owner and funded out of the Funding Sources shall include a
 provision waiving the insurer's right of subrogation against the City, and (ii) in fulfillment of this
 Acquisition Agreement involving a dual obligee bond may contain a clause to the effect that:
 "provided that Principal and Surety shall not be liable to the Obligees or any of them unless the
 Obligees or any of them have performed the obligations to the Principal in accordance with the terms
 of said contract; and provided, further, that Principal and Surety shall not be liable to all Obligees in
 the aggregate in excess of the penal sum above stated."

          Section 8.02 Standards Applicable. The Owner may effect such coverage under blanket
 insurance policies, provided, however, that (i) such policies are written on a per occurrence basis,
 (ii) such policies comply in all other respects with the provisions of Section 8.01, and (iii) the
 protection afforded the City under any such policy shall be no less than that which would be
 available under a separate policy relating only to this Acquisition Agreement. All policies of
 insurance shall be with companies licensed or approved by the State of California Insurance
 Commissioner and rated (i) A12 or better with respect to primary levels of coverage, and (ii) B+ 12 or
 better with respect to excess levels of coverage, in the most recent edition of Best's Insurance Guide
 and shall be issued and delivered in accordance with State law and regulations.




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                                             ARTICLE IX.
                                          INDEMNIFICATION

           Section 9.01 Indemnification and Hold Harmless. The Owner hereby assumes the
  defense of, and indemnifies and saves harmless the City, the CPD and each of their respective
  officers, directors, employees and agents, from and against all actions, damages, claims, losses or
  expenses of every type and description to which they may be subjected or put, by reason of, or
  resulting from the design, engineering and construction of any of the City Facilities, or arising out of
  a failure of the Owner to provide notice of the special tax to be levied by the CPD pursuant to
  Section 53341.5 of the Act (but only if the Owner is required to provide such notice), or arising out
  of any alleged misstatements of fact or alleged omission of a material fact made by the Owner, its
  officers, directors, employees or agents to the City, the CPD, the CFD's underwriter and its counsel,
  appraiser, special tax consultant, market absorption consultant or bond counsel regarding the Owner,
  its proposed developments, its property ownership, and any contractual arrangement it may enter into
  in a disclosure document describing the CPD and the risks relating to the Bonds; provided that the
  actions, damages, claims, losses and expenses covered by this Section 9.01 which relate to the City
  Facilities being acquired shall be those arising out of the personal injury or property damage which
  occurred during the period up to the acceptance of the City Facilities by the City, whether or not an
  action or claim is filed by the date of acceptance of the City Facilities; and provided, further, that
  nothing in this Section 9 .01 shall limit in any manner the indemnified party's rights against any of
  the Owner's architects, engineers, contractors or other consultants. The Owner shall furnish to the
  CPD a certificate or certificates of insurance substantiating that it has obtained for the entire period
  of the construction of the City Facilities a policy of comprehensive general liability insurance with
  coverage broad enough to include the Owner's contractual obligations under this section and having
  a combined single limit of liability meeting the requirements set forth in Article VIII. Said certificate
  of insurance shall include an endorsement naming the parties entitled to indemnity under this
  Section 9.01 as additional named insureds.

           Except as set forth in this Section 9.01, no provision of this Agreement shall in any way limit
  the extent of the responsibility of the Owner for payment of damages resulting from the operations of
  the Owner, its agents, employees or contractors. Nothing in this Section 9.01 shall be understood or
  construed to mean that the Owner agrees to indemnify the City or the CPD, or any of their respective
  officers, directors, employees or agents, for any negligent or wrongful acts or omissions to act of the
  City or the CFD, or any of their respective officers, directors, employees or agents.

          Section 9.02 Disclosure of Special Tax. Provided the Owner is selling property within the
  CPD or is leasing the property within the CPD for a term exceeding five years, the Owner covenants
  and agrees that it will provide all forms of disclosure of the special tax to be levied by the CPD as
  required by existing law and by any future laws. In particular, provided the Owner is selling property
  within the CFD or is leasing the property within the CPD for a term exceeding five years, the Owner
  covenants and agrees from and after the date hereof to provide the special tax disclosure notice
  required by Section 53341.5 of the Act and to retain in its files copies of all notices signed by
  purchasers in accordance with Section 53341.5. The City shall have the right to inspect and obtain
  copies of all of the Owner's records regarding special tax disclosure. The Owner represents that it
  has included in its contracts with purchasers of land within the CPD, and further agrees to include in
  its contracts with purchasers of land within the CPD entered into from and after the date hereof, a
  requirement that such purchasers (i) provide to the City all forms of disclosure of the special tax
  required by law, including the Section 53341.5 notice, (ii) retain signed copies of the Section 53341.5
  notice following the sale of any parcel of land within the CPD to another, and (iii) provide the City

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  on request an opportunity to review and obtain copies of all records relating to disclosure of the
  special tax. Such contractual provision shall further provide that the City and the CFD are third party
  beneficiaries of such disclosure requirements and that the purchaser of land will indemnify the City,
  the CFD and their respective officers and employees for any failure of such purchaser to disclose the
  special tax as required by law.

                                         ARTICLEX.
                               EVENT OF DEFAULT; TERMINATION

          Section 10.01 Event of Default. If the City has provided the Owner with written notice that
  the work to construct the City Facilities is not being timely performed in a satisfactory manner (and
  providing a description of the defect or failure to timely perform) and the Owner has not commenced
  actions to cure any such defects identified in such notice within 60 calendar days after the giving of
  such notice and does not diligently pursue to completion the cure of any such defects as determined
  by the Director, the City may declare that an "Event of Default" has occutTed. The Event of Default
  may be cured by the Owner by commencing within the 60 calendar day period following receipt of
  notice of default and diligently pursuing to completion the cure of such defect identified in the notice.

           During the occurrence and continuation of an Event of Default, the City shall have the right
  but not the obligation to require the Owner to make an irrevocable offer of dedication to the City of
  the land owned by the Owner for the City Facility identified in the notice and to assume
  responsibility for the work to be performed thereunder. In the event the City elects to assume the
  responsibility for any work on a previously awarded contract as described in the preceding sentence,
  the following will occur:

                A.     the Owner will make an irrevocable offer of dedication to the City of the land
  owned by the Owner for such City Facility identified in the notice;

                    B.     to the extent permitted by law and the applicable contract, the Owner will
  assign all of the contracts for the work performed to date on the City Facility identified in the notice
  to the City, if requested to do so by the Director;

                 C.      the City will use its best efforts to complete the City Facility within a
  reasonable time frame; and

                  D.    upon completion of the City Facility, to the extent there are Funding Sources
  available following payment to the City for the costs of completing such City Facility, the Owner
  will be reimbursed for the lesser of the cost or value of the previously unreimbursed satisfactory
  work perfonned or paid for by the Owner. The cost of such work will be detennined by taking the
  unreimbursed amounts expended by the Owner under the contract(s) taken over by the City and
  deducting any incremental cost incurred by the City to complete the work under the contracts in
  question. Incremental cost shall be costs in excess of the sum of the original contract cost plus
  change orders approved by the City.

         Section 10.02 Owner Termination. This Acquisition Agreement shall terminate and be of
 no further force as of May I, 2028, unless extended by agreement of all the paiiies. If the
 Acquisition Agreement is tenninated as provided herein, neither City nor Owner shall have any
 futiher responsibility or liability pursuant to this Acquisition Agreement, except for Owner's
 responsibility and liability as set forth in Article IX, which shall continue upon termination of this

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  Acquisition Agreement. Upon the termination of this Agreement, the City shall direct the use of any
  remaining Bond or Special Tax proceeds to complete any remaining authorized facilities, redeem
  Bonds or use in any way permitted by the Act.

                                             ARTICLE XI.
                                            CSD FACILITIES

          Section 11.01 CSD Acquisition Facilities and CSD Construction Facilities.

                  A.      CSD Acquisition Facilities and CSD Construction Facilities shall be acquired
  from the Funding Sources, and such CSD Acquisition Facilities and CSD Construction Facilities
  shall be bid and constructed in accordance with the CSD JCF A. CSD Acquisition Facilities and CSD
  Construction Facilities shall be funded from the Funding Sources, to the extent available, pursuant to
  the Disbursement Request Form set forth as Exhibit C-1 in the CSD JCFA. Upon receipt of a fully-
  executed Disbursement Request Form, the City shall pay the amount so requested from the available
  Funding Sources. With respect to any CSD Acquisition Facility and CSD Construction Facility
  constructed by Owner, acquired by CSD and funded out of the Funding Sources, the Owner shall
  comply with CSD's rules and regulations regarding title and conveyance of the subject CSD
  Acquisition Facility and CSD Construction Facility. The provision of a signed Disbursement
  Request Fonn from CSD shall be evidence of such compliance.

                  B.      CSD Acquisition Facilities and CSD Construction Facilities may be financed
  by the Funding Sources, including Bonds, pursuant to the JCFA. There is no requirement that the
  City Facilities or City Fees be paid first before financing CSD Acquisition Facilities and CSD
  Construction Facilities. The amount and timing of the financing of the CSD Acquisition Facilities
  and CSD Construction Facilities shall be in the discretion of the Owner.

                   C.      The City understands and agrees that (i) the Owner will be constructing CSD
  Facilities prior to the availability of the Funding Sources that will be used to pay for such CSD
  Facilities, (ii) CSD will be inspecting such CSD Facilities and processing and completing
  Disbursement Request Forms for the payment on such CSD Facilities with knowledge that there may
  be insufficient Funding Sources available at such time, (iii) the CSD Facilities may be conveyed to
  and accepted by CSD when there are insufficient Funding Sources to pay the Purchase Prices of such
  CSD Facilities, and (iv) in any such case, the payment of any approved Disbursement Request Fo1ms
  for the Purchase Prices of such CSD Facilities will be defe1Ted until there are sufficient Funding
  Sources available to pay the Purchase Prices of such CSD Facilities, at which time the City will make
  such payments in accordance with this Acquisition Agreement. At all times, the Owner will be
  constructing such CSD Facilities with the expectation that the Purchase Prices for such CSD
  Facilities will be paid from the Funding Sources. The conveyance of CSD Facilities to CSD prior to
  receipt of the Purchase Prices for such CSD Facilities shall not be construed as a dedication or gift, or
  a waiver of the payment of the Purchase Prices, or any pa11 thereof, for such CSD Facilities.

          Section 11.02 CSD Fees.

                  A.      CSD Fees shall be paid from the Funding Sources. CSD Fees paid in advance
 of the availability of Funding Sources shall be deemed deposits and shall be reimbursed to the Owner
 in accordance with the CSD JCFA following the funding of such CSD Fees from the Funding
 Sources. CSD Fees shall be funded from the Funding Sources, to the extent available, pursuant to
 the Disbursement Request Form set forth as Exhibit C in the CSD JCFA. Upon receipt of a fully-

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  executed Disbursement Request Form, the City shall pay the amount so requested from the available
  Funding Sources. With respect to any CSD Fees funded out of the Funding Sources, the Owner shall
  comply with the provisions of the CSD JCFA. The provision of a signed Disbursement Request
  Form from CSD shall be evidence of such compliance.

                   B.    CSD Fees may be financed by the Funding Sources, including Bonds,
  pursuant to the JCFA. There is no requirement that the City Facilities or City Fees be paid first
  before financing CSD Fees. The amount and timing of the financing of the CSD Fees shall be in the
  discretion of the Owner.

                  C.       The Owner may pay CSD Fees (as deposits) prior to the availability of
  Funding Sources to pay such CSD Fees. Any CSD Fees paid (as deposits) by the Owner shall be
  made with the understanding that such deposits will be returned from the Funding Sources if, and
  when, such Funding Sources become available. The payment of deposits prior to the availability of
  the Funding Sources shall not be construed as a dedication or gift of the CSD Fees, or a waiver of the
  return of the deposits, it being the intention that the CSD Fees be paid by the Funding Sources to the
  extent of the Funding Sources.

                                           ARTICLE XII.
                                          MISCELLANEOUS

          Section 12.01 Limited Liability of City. The Owner agrees that any and all obligations of
  the City arising out of or related to this Acquisition Agreement are special and limited obligations of
  the City and the City's obligations to make any payments hereunder are restricted entirely to the
  moneys, if any, from the Funding Sources. No member of the City Council, or City staff member,
  employee or agent shall incur any liability hereunder to the Owner or any other party in their
  individual capacities by reason of their actions hereunder or execution hereof.

          Section 12.02 Audit. The Director and/or the Finance Director or other finance officer of
  the City shall have the right, during normal business hours and upon the giving of two (2) Business
  Days prior written notice to the Owner, to review all books and records of the Owner pertaining to
  costs and expenses incurred by the Owner in the construction of the City Facilities to be funded with
  the Funding Sources, and any bids taken or received for the construction thereof or materials
  therefor.

           Section 12.03 Attorney's Fees. In the event that any action or suit is instituted by either
  party against the other arising out of this Acquisition Agreement, the party in whose favor final
  judgment shall be entered shall be entitled to recover from the other party all costs and expenses of
  suit, including reasonable attorneys' fees.

          Section 12.04 Notices. Any notice, payment or instrument required or pennitted by this
  Acquisition Agreement to be given or delivered to any party hereto shall be deemed to have been
  received when personally delivered, or transmitted by telecopy or facsimile transmission (with
  telecopy or facsimile confinnation obtained), or seventy-two hours following deposit of the same in
  any United States Post Office, registered or certified mail, postage prepaid, addressed as follows:




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                                                 City of Coachella
          City:                                  1515 Sixth Street
                                                 Coachella, CA 92236
                                                 Attention: City Manager

          Owner:                                 Glenroy Coachella, LLC
                                                 1801 South La Cienega Boulevard
                                                 Los Angeles, California 90035
                                                 Attention: Stuat1 Rubin

          Each pat1y may change its address or addresses for delivery of notice by delivering written
  notice of such change of address to the other party.

          Section 12.05 Severability. If any part of this Acquisition Agreement is held to be illegal
  or unenforceable by a court of competent jurisdiction, the remainder of this Acquisition Agreement
  shall be given effect to the fullest extent possible.

          Section 12.06 Successors and Assigns. This Acquisition Agreement shall be binding upon
  and inure to the benefit of the successors and assigns of the parties hereto. The Owner may not
  assign its rights or obligations hereunder except with the prior written approval of the City Manager,
  or his designee, which approval shall not be unreasonably withheld, provided such assignment is in
  whole. Notwithstanding the preceding sentence, the Owner may assign its rights and obligations
  hereunder as security to lenders for the purpose of obtaining loans to finance development within the
  CFD, but no such assignment shall release the Owner from its obligations hereunder to the City and
  the CFD, which the Owner shall remain obligated to perform itself. The Owner shall provide written
  notice to the City of any assignment of this Agreement as security for lenders.

          Section 12.07 Other Agreements. The obligations of the Owner hereunder shall be those
  of a party hereto and not as an owner of property in the CFD. Nothing herein shall be construed as
  affecting the City's or the Owner's rights, or duties to perform their respective obligations, under
  other agreements, use regulations or subdivision requirements relating to the development of the
  lands in the CFD. This Acquisition Agreement shall not confer any additional rights, or waive any
  rights given, by either party hereto under any development or other agreement to which they are a
  pat1y.

          Section 12.08 Waiver. Failure by a pat1y to insist upon the strict performance of any of the
  provisions of this Acquisition Agreement by the other party, or the failure by a party to exercise its
  rights upon the default of the other party, shall not constitute a waiver of such patty's right to insist
  and demand strict compliance by the other pat1y with the tenns of this Acquisition Agreement
  thereafter.

          Section 12.09 Merger. No other agreement, statement or promise made by any party or any
  employee, officer or agent of any party with respect to any matters covered hereby that is not in
  writing and signed by all the parties to this Acquisition Agreement shall be binding.

          Section 12.10 Binding on CFD. The City Council of the City, acting as the legislative
  body of the CFD, shall perform all parts of this Acquisition Agreement which require performance
  on the part of the CFD.


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          Section 12.11 Amendment. This Acquisition Agreement may be amended, from time to
  time, by written Supplement hereto and executed by both the City and the Owner.

         Section 12.12 Counterparts.        This Acquisition Agreement may be executed    m
  counterparts, each of which shall be deemed an original.

         Section 12.13 Governing Law. This Acquisition Agreement and any dispute arising
  hereunder shall be governed by and interpreted in accordance with the laws of the State.




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          IN WITNESS WHEREOF, the parties have executed this Acquisition Agreement as of the
  day and year first-above written .


  CITY:                                    CITY OF COACHELLA
                                           For the Community Facilities District No. 2018-1 of the
                                           City of Coachella (Glenroy)


                                           By:




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  OWNER:                         GLENROY COACHELLA, LLC, a Delaware limited
                                 liability company

                                 By:
                                 Name: Stuart Rubin
                                 Title: Manager




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                                              Exhibit "A"

    PUBLIC FACILITIES AND DISCRETE COMPONENTS ELIGIBLE TO BE FINANCED
        BY CITY OF COACHELLA COMMUNITY FACILITIES DISTRICT 2018-1 1


                       Facility                                   Discrete Component
                                          CITY FACILITIES
  Van Buren Street Improvements                                           NIA
  Phase 2 stonn drain system installed under City of                      NIA
  Coachella Permit No. 2018-32.
  Phase 2 domestic water system installed under                           NIA
  City of Coachella Permit Nos. 2018-53 and 2018-
  60.
  Landscaping Improvements
                                          CSD FACILITIES
  Phase 2 sanitary sewer system installed under                           NIA
  City of Coachella Permit No. 2018-53.


          The description of the Facilities and Discrete Components set f01th in this Exhibit "A" are
  preliminary in some cases. The final plans and specifications may show substitutes or modifications
  to the proposed Facilities and Discrete Components approved by the applicable public agency. In no
  event shall any Facility or Discrete Component thereof be eligible for acquisition and/or
  reimbursement to the extent that such Facility or Discrete Component thereof was previously
  reimbursed to the Owner out of Funding Sources. Unless agreed to otherwise by the Owner and the
  City, dry utility cost reimbursements shall not exceed 5% of the proceeds of any series of Bonds.

                                     COMPLETED FACILITIES

                        Facility                        Discrete Component    Estimated Purchase Price
                                           CITY FACILITIES
  Phase 1 storm drain system installed under City of           NIA                 $1,276,460.64
  Coachella Permit No. 2018-32.
  Phase 1 domestic water system installed under City          NIA                  $1,575,233.90
  of Coachella Permit Nos. 2018-53 and 2018-60.
  Underground retention system installed under City           NIA                   $504,867.07
  of Coachella Pennit No. 2018-32
  Parking Lot Lighting (Bases, Poles, Fixtures and            NIA                   $165,484.80
  Install)
  Landscaping for limited retail frontage and parking         NIA                   $66,591.72
                                           CSD FACILITIES
  Phase 1 sanitary sewer system installed under City          NIA                   $763,371.84
  of Coachella Permit No. 2018-53.

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                                           Exhibit "B"

                                DESCRIPTION OF PROPERTY



  Real property in the City of Coachella, County of Riverside, State of California, described as
  follows:

  Lot numbers 1, 2, 3, 4 and 6 of Parcel Map No. 37310 recorded November 9, 2017 as instrument
  number 2017-0472863.




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                                              Exhibit "C"

                                  FORM OF PAYMENT REQUEST

                                       City of Coachella
                         Community Facilities District No. 2018-1 (Glenroy)

          The City of Coachella (the City") and Glenroy Coachella, LLC ("Owner") are parties to the
  Acquisition Agreement, dated as of May 1, 2018 (the "Acquisition Agreement"). Capitalized
  undefined terms use herein shall have the meanings ascribed thereto in the Acquisition Agreement.
  Pursuant to the Acquisition Agreement, Owner hereby requests confamation that the City Facilities
  (or Discrete Components) described in Attachment A attached hereto (the "City Facilities or Discrete
  Components") is [Complete] [Substantially Complete] and hereby further requests approval of the
  Purchase Price of the City Facilities or Discrete Components. In connection with this Payment
  Request, Owner hereby represents and warrants to the City as follows:

                 (a)     The person executing this Payment Request on behalf of Owner is qualified
         to execute this Payment Request on behalf of Owner and knowledgeable as to the matters set
         forth herein.

                 (b)      Owner has submitted or submits herewith to the Director as-built drawings or
         similar plans and specifications for the City Facilities or Discrete Components for which
         payment is requested, and such drawings or plans and specifications, as applicable, are true,
         correct and complete; provided, however, that if certification is being requested that such
         City Facilities or Discrete Components is Substantially Complete, such drawings or plans and
         specifications need not be submitted to the Director until certification is being requested that
         such City Facilities or Discrete Components is complete.

                 (c)    Each of the City Facilities or Discrete Components described in Attachment
         A has been constructed in accordance with the Plans therefor, and in accordance with all
         applicable City standards and the requirements of the Acquisition Agreement, and the as-
         built drawings or similar Plans and specifications referenced in paragraph (b) above.

              (d)      The true and correct Actual Cost of each City Facilities or Discrete
         Components is set forth in Attachment A.

                 (e)    Owner has submitted or submits herewith to the City Engineer invoices,
         receipts, worksheets and other evidence of costs which are in sufficient detail to allow the
         City Engineer to verify the Actual Cost of each City Facility or Discrete Component for
         which payment is requested.

         Owner hereby declares that the above representations and warranties are true and correct.




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        Owner hereby requests that the Purchase Price be paid to the Person or Persons, in the
  amounts, set forth in Attachment B hereto.

  Date:                              GLENROY COACHELLA, LLC,
                                     a Delaware limited liability company

                                     By:----------

                                     Name: - - - - - - - - - - -

                                     Title:

  APPROVED FOR PAYMENT



  Date:                                             CITY OF COACHELLA


                                                    By: _ _ _ _ _ _ _ _ _ _ _ __

                                                    Name: - - - - - - - - - - - - -

                                                    Title: City Manager




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                                    ATTACHMENT A

             City Facilities or
           Discrete Components          Actual Cost              Purchase Price




                                  Total Purchase Price to be Paid:
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                                ATTACHMENTB

                   PURCHASE PRICE PAYMENT INSTRUCTIONS
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                   JOINT COMMUNITY FACILITIES AGREEMENT


                                  by and among


                              CITY OF COACHELLA,


                        COACHELLA SANITARY DISTRICT,


                                       and


                           GLENROY COACHELLA, LLC


                                    relating to


                   COMMUNITY FACILITIES DISTRICT NO. 2018-1
                    OF THE CITY OF COACHELLA (GLENROY)
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                        JOINT COMMUNITY FACILITIES AGREEMENT

          THIS JOINT COMMUNITY FACILITIES AGREEMENT (the "Agreement") is dated as of
  May 1, 2018, by and among CITY OF COACHELLA, a municipal corporation and a political
  subdivision of the State of California ("City"), COACHELLA SANITARY DISTRICT, a public
  agency organized and existing pursuant to the Sanitary District Act of 1923 ("CSD"), GLENROY
  COACHELLA, LLC, a Delaware limited liability company (the "Property Owner"), and relates to
  the formation by the City of a community facilities district known as "Community Facilities District
  No. 2018-1 of the City of Coachella (Glenroy)" (the "CFD"), which is being formed for the purpose
  of financing certain facilities to be owned, operated or maintained by the City or CSD from proceeds
  of bonds issued by the CFD in one or more series, or special taxes levied thereby. The City, CSD
  and the Property Owner are each a "Party" hereto, and, collectively, the "Parties."



          A.     The property described in Exhibit "A" hereto (the "Property"), which is located in
  the City of Coachella, County of Riverside, State of California, is proposed to constitute the land
  within the boundaries of the CFD.

          B.      Property Owner owns a portion of the Property to be included in the proposed CFD.
  Property Owner intends to develop the Property for commercial and retail purposes and have
  obtained or intends to obtain the necessary development approvals to construct resort villas housing
  approximately 400 rooms, a multi-story hotel (consisting of 130 rooms, convention space, pools and
  other amenities), retail facilities and other uses, as such development may be modified from time to
  time (the "Project").

          C.     The Property Owner petitioned the City to form the CFD for the purpose of
 financing, among other things, the acquisition and/or construction of various public facilities to be
 owned and operated by CSD as described in Exhibit "B" hereto, which facilities will benefit the
 Project in whole or in part, including (i) certain public facilities constructed or to be constructed by
 or on behalf of Property Owner and ultimately owned and operated by CSD (the "Acquisition
 Facilities") and (ii) certain public facilities to be constructed and owned and operated by CSD (the
 "CSD Fee Facilities") in lieu of the payment of CSD Fees (defined herein). Upon the construction
 of the Acquisition Facilities by or on behalf of Property Owner and the inspection and acceptance
 thereof by CSD as described herein, the Acquisition Facilities shall become part of the CSD system.
 The Acquisition Facilities and CSD Fee Facilities are collectively referred to herein as the "CSD
 Facilities."

          D.     Property Owner has yet to determine whether they will finance all of the CSD
 Facilities with Bond Proceeds (defined below) available for such purpose. The Parties hereto
 acknowledge that the purpose of this Agreement is to satisfy the requirements of the Act.

         E.       CSD and Property Owner agree that any Acquisition Facilities constructed or to be
 constructed by Property Owner shall be eligible for acquisition by CSD and the costs thereof shall be
 eligible for reimbursement from Bond Proceeds pursuant to this Agreement.

         F.      In conjunction with the issuance of building permits for the construction of the
 Project on the Property, the Property Owner, or its successors or assigns, may elect to advance CSD
 Fee Facilities costs in lieu of payment of CSD Fees (the "Advances") before Bond Proceeds ( defined


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  herein) are available in sufficient amounts to pay for CSD Fee Facilities. In such case, the Property
  Owner shall be entitled to (i) reimbursement of such Advances limited to Bond Proceeds available to
  CSD, if any, and (ii) credit against CSD Fees which would otherwise be due to CSD equal to the
  amount of Bond Proceeds disbursed to CSD or at the direction of CSD for CSD Facilities, all as
  further described herein.

         G.      The City will have sole discretion and responsibility for the fonnation and
  administration of the CFD.

           H.     The City is authorized by Section 53313 .5 of the Act to assist in the financing of the
  acquisition and/or construction of the CSD Facilities. This Agreement constitutes a joint community
  facilities agreement, within the meaning of Section 53316.2 of the Act, by and among CSD, the
  Property Owner and the City, pursuant to which the CFD will be authorized to finance the acquisition
  and/or construction of all or a po1iion of the CSD Facilities. As authorized by Section 53316.6 of the
  Act, responsibility for acquiring, constructing, providing for and operating the CSD Facilities is
  delegated to CSD.

         I.      The Paiiies hereto find and detennine that the residents residing within the
  boundaries of CSD, the City and the CFD will be benefited by the construction and/or acquisition of
  the CSD Facilities and that this Agreement is beneficial to the interests of such residents.

                                             AGREEMENT

  NOW, THEREFORE, in consideration of the mutual promises and covenants set forth herein, the
  parties hereto agree as follows:

          1.      Recitals. Each of the above recitals is incorporated herein and is true and correct.

          2.       Definitions. Unless the context clearly otherwise requires, the tenns defined in this
  Section shall, for all purposes of this Agreement, have the meanings herein specified.

                (a)    "Act" means the Mello-Roos Community Facilities Act of 1982, Chapter 2.5
  ( commencing with Section 53311) of Part 1 of Division 2 of Title 5 of the California Government
  Code.

                (b)     "Acquisition Facility or Facilities" means those sewer facilities listed on
  Exhibit "B" hereto, which are eligible to be constructed by or on behalf of the Property Owner,
  acquired by CSD and paid for with Bond Proceeds.

                 (c)      "Acquisition Price" means the amount to be paid out of Bond Proceeds for an
  Acquisition Facility.

                 (d)     "Actual Costs" with respect to an Acquisition Facility includes: (i) the actual
 hard construction costs including labor, materials and equipment costs; (ii) the costs incmTed in
 design, engineering and preparation of plans and specifications; (iii) the fees paid to consultants and
 government agencies in connection with and for obtaining permits, licenses or other required
 governmental approvals; (iv) construction management fee of 5% of the costs described in clause (i)
 above; (v) professional costs such as engineering, legal, accounting, inspection, construction staking,
 materials testing and similar professional services; (vi) costs of payment, performance of
 maintenance bonds, and insurance costs (including the costs of any title insurance); and (vii) the

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  value of any real property or interests therein that (1) are required for the construction of the
  Acquisition Facility such as temporary construction easements, haul roads, etc., and (2) are required
  to be conveyed with such Acquisition Facility in an amount equal to the fair market value of such
  real property or interests therein.

                    (e)    "Advances" means an amount paid by a Property Owner for CSD Fee
  Facilities in lieu of payment of CSD Fees prior to the availability of sufficient Bond Proceeds.

                  (f)       "Bond Proceeds" or "Proceeds of the Bonds" shall mean those net funds
  generated by the sale of the Bonds and investment earnings thereon. Bond Proceeds shall also
  include any Special Taxes collected by the CPD prior to the issuance of the Bonds to pay directly for
  the acquisition of facilities as authorized by the Rate and Method.

               (g)     "Bond Resolution" means that Resolution, Resolution Supplement, Fiscal
  Agent Agreement, Indenture of Trust or other equivalent document(s) providing for the issuance of
  the Bonds.

                 (h)     "Bonds" shall mean those bonds, or other securities, issued by, or on behalf
  of the CPD, in one or more series, as authorized by the qualified electors within the CPD.

                (i)    "Completed Facility" or "Completed Facilities" means a facility or facilities
  completed by the Property Owner prior to the formation of the District as identified on Exhibit "B"
  hereto.

                  (i)     "Disbursement Request" means a request for payment relating to CSD
  Facilities substantially in the form attached hereto as Exhibit "C-1" for CSD Fee Facilities and
  Exhibit "C-2" for Acquisition Facilities

                (k)     "CSD Engineer" means the engineering firm or in-house personnel used by
  CSD to determine the value of an Acquisition Facility to be acquired with Bond Proceeds.

                 (I)     "CSD Facilities" means the Acquisition Facilities and CSD Fee Facilities.

                  (m)     "CSD Facilities Account" means the fund, account or subaccount of the CPD
 (regardless of its designation within the Bond Resolution) into which a portion of the Bond Proceeds
 may be deposited in accordance with the Bond Resolution to finance CSD Facilities.

                (n)     "CSD Fees" means sewer connection fees, sewer treatment capacity charges
  and all components thereof imposed by CSD upon the Property to finance CSD Fee Facilities.

                (o)     "CSD Fee Facilities" means those sewer facilities listed on Exhibit "B"
 hereto, which are necessary for the provision of sewer services to the Property and paid for with
 Bond Proceeds in lieu of the payment of CSD Fees.

                 (p)     "CSD Representative" means the CSD Engineer or his designee.

                  (q)      "Field Engineer" shall have the meaning ascribed to the tenn m
  Section 7(a)(i) of this Agreement.

                 (r)     "Party" or "Parties" shall mean anyone or all of the parties to this Agreement.

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                 (s)     "Plans and Specifications" shall mean the plans and specifications for the
  design and construction of an Acquisition Facility as approved by CSD, which approval shall not be
  unreasonably withheld.

                (t)     "Rate and Method" means the Rate and Method of Apportionment of the
  Special Tax authorizing the levy and collection of special taxes within the CFD pursuant to
  proceedings undertaken for the formation of the CFD pursuant to the Act.

                (u)    "Special Taxes" means the special taxes authorized to be levied and collected
  within the CFD pursuant to the Rate and Method.

                  (v)     "State" means the State of California.

                 (w)     "Substantially Complete" or "Substantial Completion" with respect to an
  Acquisition Facility means that such Acquisition Facility is substantially complete in accordance
  with its Plans and Specifications and is available for use by the public for its intended purpose,
  notwithstanding any final "punch list" items still required to be completed, unless such items are
  required for the safe operation of such Acquisition Facility, and shall be based upon approval of
  CSD's inspectors, which shall not be unreasonably withheld.

          3.      Formation of the CFD. The City has undertaken the analysis of the appropriateness
  of fanning the CFD therein to finance the CSD Facilities and other facilities. The City has retained,
  at the expense of the Property Owner, the necessary consultants to analyze the proposed formation of
  the CFD.

           4.       Sale of Bonds and Use of Proceeds. In the event that the CFD issues Bonds, the City
  and the Property Owner shall determine the amount of Bond Proceeds to be deposited in the CSD
  Facilities Account. Nothing herein shall supersede the obligation of an owner of the Property to
  make an Advance or pay CSD Fees to CSD when due. The purpose of this Agreement is to provide a
  mechanism by which the CFD may issue the Bonds to provide a source of funds to finance CSD Fee
  Facilities in lieu of the payment of CSD Fees and fund the Acquisition Price of Acquisition Facilities.
  In the event that Bond Proceeds, including investment earnings thereon, are not available or
  sufficient to satisfy the obligation, then the Property Owner shall remain obligated to make an
  Advance for which it will receive no reimbursement (except to the extent Bond Proceeds later
  become available to CSD), or pay CSD Fees to CSD as a condition of receiving sewer service to the
  Property.

         5.      Disbursements.

                 (a)      Upon the funding of the CSD Facilities Account, the Property Owner shall
  notify CSD of the amount of Bond Proceeds to be reserved to fund CSD Facilities and CSD may
  execute and submit a Disbursement Request for payment to the City requesting disbursement of an
  amount equal to all or a portion of Advances from the CSD Facilities Account to the extent that Bond
  Proceeds are available in the CSD Facilities Account for such purpose. Upon CSD's receipt of funds
  pursuant to such Disbursement Request, the Property Owner shall receive reimbursement of the
  Advances from CSD.

               To the extent that CSD expends all or a portion of an Advance pending the deposit of
  Bond Proceeds in the CSD Facilities Account, for purposes of Treasury Regulations regarding


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  investment and expenditure of Bond Proceeds, the Advance shall be a considered an interest free
  loan by the Property Owner, which the City agrees to repay to the extent of the deposit, if any, of
  Bond Proceeds in the CSD Facilities Account and CSD's written direction as described below to pay
  all or a portion of such deposit to the Property Owner as repayment of an Advance.

                 (b)      From time to time following the funding of one or more CSD Facilities
  Accounts, the Property Owner may notify CSD in writing and request a disbursement from the CSD
  Facilities Account to fund CSD Fee Facilities by executing and submitting a Disbursement Request.
  Upon receipt of such Disbursement Request completed in accordance with the terms of this
  Agreement, the CFD shall wire transfer or otherwise pay to CSD (or upon CSD's written direction
  pay to the Property Owner or a CSD contractor) such requested funds to the extent that Bond
  Proceeds are available in the CSD Facilities Account for such purpose. Upon such notice and CSD's
  receipt of such disbursement (or upon payment to the Property Owner or a CSD contractor in
  accordance with directions from CSD relating to CSD Facilities), the Property Owner shall be
  deemed to have satisfied the applicable CSD Fees with respect to the number of connections for
  which the CSD Fees would otherwise have been required in an amount equal to such disbursement.

                  (c)     CSD agrees that prior to submitting a Disbursement Request requesting
  payment from the CFD it shall review and approve all costs included in its request and will have
  already paid or incurred such costs of CSD Facilities from its own funds (which may include
  Advances from a Property Owner) subsequent to the date of this Agreement, or will disburse such
  amounts to pay the costs of CSD Facilities following receipt of funds from the CFD. In the event
  that CSD does not disburse any Bond Proceeds (or equivalent amount of Advances repaid pursuant to
  the second to the last sentence of the first paragraph of Section 5(a) above) received by it to third
  parties within five banking days of receipt, it will trace and report to the CFD all earnings, if any,
  earned by CSD, from the date of receipt of such Bond Proceeds by CSD (or the date of disbursement
  pursuant to the second to the last sentence of the first paragraph of Section 5(a) above) to the date of
  expenditure by CSD for capital costs of the CSD Facilities. Such report shall be delivered at least
  semiannually until all Bond Proceeds are expended by CSD. CSD agrees that in processing the
  above disbursements it will comply with all legal requirements for the expenditure of Bond Proceeds
  under the Internal Revenue Code of 1986 and any amendments thereto.

                   (d)     CSD agrees to maintain adequate internal controls over its payment function
  and to maintain accounting records in accordance with generally accepted accounting procedures.
  CSD will, upon request, provide the City and/or the Property Owner with access to CSD's records
  related to the CSD Facilities and expenditure of Advances and will provide to the City its annual
  financial report certified by an independent certified public accountant for purposes of assisting the
  City in calculating the arbitrage rebate obligation of the CFD, if any.

                 ( e)    The City or the CFD agrees to maintain full and accurate records of all
  amounts, and investment earnings, if any, expended from the CSD Facilities Accounts and
  expenditure of Advances. The City or the CFD will, upon request, provide CSD and/or Property
  Owner with access to the City's or the CFD's records related to the CSD Facilities Accounts.

                  (f)     The City and CSD acknowledge that the City has the ultimate responsibility
  for issuance of the Bonds, the administration of the CFD, and the tax-exempt status of any Bonds
  issued by the CFD. Accordingly, the City Council shall have ultimate responsibility for making all
  decisions with respect to the issuance of any Bonds and the levy of Special Taxes.


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         6.      Ownership of CSD Facilities. The CSD Facilities shall be and remain the property of
  CSD.

          7.      Acquisition Facilities. The Parties acknowledge that CSD may require the Property
  Owner, pursuant to the CSD Rules and Regulations, to design, construct and dedicate to CSD
  Acquisition Facilities as a condition to providing sewer service to the Property. The following
  provisions of this Section 7 shall apply solely with respect to those Acquisition Facilities to be
  constructed by the Property Owner and acquired by CSD with Bond Proceeds:

                   (a)    Construction and Acquisition of Acquisition Facilities.   This Section 7(a)
  shall not apply to any Completed Facilities.

                         (i)     The Property Owner will complete the Plans and Specifications for
 such Acquisition Facilities. The Plans and Specifications shall include CSD's standard specifications
 and shall be subject to CSD approval, which shall not be unreasonably withheld. CSD agrees to
 process any Plans and Specifications for approval with reasonable diligence and in a timely manner.
 A Property Owner may proceed with the construction of any such Acquisition Facilities in
 accordance with the provisions of Section 7(b) hereof. A qualified engineering firm ("Field
 Engineer") shall be employed by the Property Owner to provide all field engineering surveys
 dete1mined to be necessary by the CSD inspection personnel. Field Engineer shall promptly furnish
 to CSD a complete set of grade sheets listing all locations, offsets, etc., in accordance with good
 engineering practices, and attendant data and rep01ts resulting from the Field Engineer's engineering
 surveys and/or proposed facility design changes. CSD shall have the right, but not the obligation, to
 review, evaluate and analyze whether such results comply with applicable specifications.

                         (ii)     A full-time soils testing firm, approved by CSD, shall be employed by
 the Property Owner to conduct soil compaction testing and certification. The Property Owner shall
 promptly furnish results of all such compaction testing to CSD for its review, evaluation and decision
 as to compliance with applicable specifications. In the event the compaction is not in accordance or
 compliance with applicable specifications, the Property Owner shall be fully liable and responsible
 therefore. A final repo1t shall be required fully certifying trench compaction efforts prior to
 acceptance of each of the Acquisition Facilities.

                         (iii)   The cost of all surveying, compaction testing and report costs
 associated with such Acquisition Facilities furnished and constructed by any contractors or
 sub-contractors (collectively, "Contractors") shall be included among the costs which are eligible to
 be paid from the CSD Facilities Account.

                         (iv)   CSD shall not be responsible for conducting any environmental,
 archaeological, biological, or cultural studies or any mitigation requirements related to the
 Acquisition Facilities to be constructed by a Property Owner that may be requested by appropriate
 Federal, State, and/or local agencies. Any such work shall be paid for and such work shall be
 conducted by, or on behalf of a Property Owner and the costs of such work shall be eligible to be
 paid from the CSD Facilities Account of the Improvement Fund.

                 (b)    Public Works Requirements. This Section 7(b) shall not apply to any
 Completed Facilities. In order to insure that the Acquisition Facilities to be constructed by the
 Property Owner and acquired with Bond Proceeds will be constructed as if they had been constructed
 under the direction and supervision, or under the authority, of CSD, so that they may be acquired by

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  the CSD pursuant to Government Code Section 53313.5, the Property Owner shall comply with all of
  the following requirements:

                         (i)     The Property Owner shall obtain a minimum of three (3) bids from
  firms reasonably detennined to be qualified to construct the Acquisition Facilities in conformance
  with the Plans and Specifications.

                        (ii)    The Property Owner shall make arrangements with CSD to schedule
  the bid opening, which is to be held at CSD headquarters, conducted by the Property Owner and
  witnessed by CSD staff.

                          (iii)    The contract or contracts for the construction of such Acquisition
  Facilities shall be awarded to the responsible bidder(s) submitting the lowest responsive bid(s) for the
  construction of such Acquisition Facilities.

                          (iv)     The Property Owner shall require, and the specifications and bid and
  contract documents shall require all such Contractors to pay prevailing wages and to otherwise
  comply with applicable provisions of the State Labor Code, Government Code and Public Contract
  Code relating to public works projects to the extent expressly applicable to a non-governmental
  entity constructing infrastructure to be acquired by a public entity.

                          (v)    Said Contractors shall be required to furnish labor and material
  payment bonds and contract performance bonds in an amount equal to 100 percent of the contract
  price naming the Property Owner and the CSD as obligees and issued by insurance or surety
  companies approved by the CSD. All such bonds shall be in a form approved by the CSD
  Representative. Rather than requiring its Contractors to provide such bonds, the Property Owner
  may elect to provide the same for the benefit of its Contractors.

                        (vi)    All such Contractors shall be required to provide proof of insurance
  coverage throughout the term of the construction of such Acquisition Facilities which they will
  construct in conformance with the approved Plans and Specifications.

                           (vii) The Property Owner and all such Contractors shall comply with such
  other requirements relating to the construction of such Acquisition Facilities which the CSD may
  impose by written notification delivered to the Property Owner and each such Contractor at any time
  either prior to the receipt of bids by the Property Owner for the construction of such Acquisition
  Facilities or, to the extent required as a result of changes in applicable laws, during the progress of
  construction thereof. In accordance with this Section 7(b ), the Property Owner shall be deemed the
  awarding body and shall be solely responsible for compliance and enforcement of the provisions of
  the State Labor Code, Government Code, and Public Contract Code to the extent expressly
  applicable to a nongovernmental entity constructing infrastructure to be acquired by a public entity.

                            (viii) The Property Owner shall provide proof to the CSD, at such intervals
  and in such form as the CSD Representative may require that the foregoing requirements have been
  satisfied as to all of the Acquisition Facilities constructed by the Property Owner, acquired by CSD
  and paid for with Bond Proceeds.




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                  ( c)    Inspection; Completion of Construction.

                          (i)     CSD shall have primary responsibility for providing inspection of the
  construction of the Acquisition Facilities constructed by a Prope1iy Owner to insure that the
  construction is accomplished in accordance with the Plans and Specifications. CSD's personnel shall
  have access to the site of the work at all reasonable times for the purpose of accomplishing such
  inspection. Upon Substantial Completion of the construction of such Acquisition Facilities by
  Property Owner, the Property Owner shall notify the CSD in writing that the construction of such
  Acquisition Facilities has been Substantially Completed.

                          (ii)    Upon receiving such written notification from the Property Owner,
  and upon receipt of written notification from its inspectors that construction of any of the Acquisition
  Facilities by Prope1iy Owner has been Substantially Completed, the CSD shall within 15 days notify
  the Property Owner in writing that the construction of such Acquisition Facilities has been
  satisfactorily completed. Upon receiving such notification, the Property Owner shall forthwith file
  with the County Recorder of the County of Riverside a Notice of Completion pursuant to the
  provisions of Section 3093 of the Civil Code. The Property Owner shall furnish to the CSD a
  duplicate copy of each such Notice of Completion showing thereon the date of filing with the County
  Recorder. Any actual costs reasonably incurred by the CSD in inspecting and approving the
  construction of any Acquisition Facilities by the Property Owner not previously paid by the Property
  Owner shall be eligible to be reimbursed from the CSD Facilities Account of the hnprovement Fund
  or paid directly by Property Owner.

                  ( d)   Liens. Upon the expiration of the time for the recording of claim of liens as
 prescribed by Sections 3115 and 3116 of the Civil Code, the Property Owner shall provide to the
 CSD such evidence or proof as the CSD shall require that all persons, firms and corporations
 supplying work, labor, materials, supplies and equipment on behalf of the Property Owner for the
 construction of any Acquisition Facilities have been paid, and that no claims of liens have been
 recorded by or on behalf of any such person, firm or corporation. Rather than await the expiration of
 the said time for the recording of claims of liens, the Property Owner may elect to provide to the
 CSD a title insurance policy or other security acceptable to the CSD guaranteeing that no such claims
 of liens will be recorded or become a lien upon the Property with priority over the lien of the special
 taxes to be levied thereon in the proceedings for the fonnation of the CPD.

                 (e)     Acquisition, Acquisition Price; Source of Funds.

                         (i)       Provided the Property Owner has complied with the requirements of
 this Agreement, CSD agrees to acquire the Acquisition Facilities from the Property Owner.
 Notwithstanding the above, nothing herein shall be construed as requiring the Property Owner to
 construct and deliver any Acquisition Facility. The price to be paid by the CPD for the acquisition of
 such Acquisition Facilities by CSD ("Acquisition Price") shall be the lesser of (i) the value of the
 Acquisition Facilities or (ii) the total of the Actual Costs of the Acquisition Facilities. The Property
 Owner shall transfer ownership of the Acquisition Facilities to the CSD by grant deed, bill of sale or
 such other documentation as the CSD may require. Upon the transfer of ownership of the
 Acquisition Facilities or any portion thereof from the Property Owner to CSD, CSD shall be
 responsible for the maintenance of the Acquisition Facilities or the portion transferred.

                        (ii)    For purposes of determining the Acquisition Price to be paid by the
 CPD for the acquisition of the Acquisition Facilities by CSD, the value of such improvements shall

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  be the amount dete1mined by the CSD Engineer to be the value of the Acquisition Facilities based on
  the Actual Costs submitted by the Property Owner, as hereinbefore specified; provided, however,
  that if the CSD Engineer determines that such Actual Costs, or any of them, are excessive and that
  the value of the Acquisition Facilities is less than the total amount of such Actual Costs, the
  Acquisition Price to be paid by the CFD for the acquisition of the Acquisition Facilities shall be the
  value thereof as determined by the CSD Engineer.

                           (iii)   Upon completion of the construction of any Acquisition Facilities by
  the Property Owner, the Property Owner shall deliver to CSD copies of the contract(s) with the
  Contractor(s) who have constructed the Acquisition Facilities or other relevant documentation with
  regard to the payments made to such Contractor(s) and each of them for the construction of such
  Acquisition Facilities, and shall also provide to CSD copies of all invoices and purchase orders with
  respect to all supplies and materials purchased for the construction of such Acquisition Facilities.
  CSD shall require the CSD Engineer to complete its dete1mination of the value of the Acquisition
  Facilities as promptly as is reasonably possible.

                          (iv)   To the extent funds are available therein, the Acquisition Price of any
  Acquisition Facilities may be determined and paid out of the CSD Facilities Account of the
  Improvement Fund upon a determination of Substantial Completion of such Acquisition Facility.
  The Property Owner shall submit a payment request form to the City or the CFD in substantially the
  form attached hereto as Exhibit "C-2" which must also contain therewith approval of CSD, which
  approval shall not be unreasonably withheld.

                          (v)     Notwithstanding the preceding provisions of this section, the sole
  source of funds for the acquisition by CSD of the Acquisition Facilities or any portion thereof shall
  be the Bond Proceeds made available by the CFD pursuant to Section 4 above. If for any reason
  beyond CSD's control, the Bonds are not sold, CSD shall not be required to acquire any Acquisition
  Facilities from the Property Owner. In such event, the Property Owner shall complete the design and
  construction and offer to the CSD ownership of such portions of Acquisition Facilities as are required
  to be constructed by the Property Owner as a condition to recordation of subdivision maps for the
  Property or any other agreement between the Property Owner and CSD, but need not construct any
  portion of the Acquisition Facilities which it is not so required to construct.

                         (vi)    Any CSD monetary reimbursements for construction of Acquisition
  Facilities funded by the CFD will be paid to the CFD to pay down CFD bond debt. All other
  reimbursements due the Property Owner for the construction of facilities other than those financed by
  the CFD shall be addressed in a separate agreement between the Property Owner and CSD.

                 (f)      Easements. The Property Owner shall, at the time CSD acquires the
  Acquisition Facilities as provided in Section 7(e) hereof, grant to CSD, by appropriate instruments
  prescribed by CSD, all easements on private property which may be reasonably necessmy for the
  proper operation and maintenance of such Acquisition Facilities, or any part thereof.

                  (g)    Maintenance. Prior to the transfer of ownership of an Acquisition Facility by
  the Property Owner to CSD, as provided in Section 7(e) hereof, the Property Owner shall be
  responsible for the maintenance thereof and shall maintain and transfer such Acquisition Facility to
  CSD in as good condition as the Acquisition Facility was in at the time the Property Owner notified
  the CSD that construction of same had been completed in accordance with the Plans and
  Specifications.

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                  (h)      Responsibility for Acquisition Facilities. The Parties acknowledge and agree
  that all responsibility and obligation for the design, construction and dedication of such Acquisition
  Facilities to CSD, in accordance with all applicable statutes and the CSD Rules and Regulations,
  shall be and remain the responsibility of the Property Owner. The Parties also acknowledge and
  agree that the construction and acquisition of the Acquisition Facilities to be constructed by the
  Property Owner is a matter between Property Owner and CSD only, and that the City and the CFD
  shall have no responsibility or liability for on-site inspection or monitoring or for certifying that the
  provisions of this Section 7 be satisfied.

          8.      Indemnification.

                  (a)     Indemnification by City. City shall assume the defense of, indemnify and
  save harmless, CSD and Property Owner, their respective officers, employees and agents, and each
  and every one of them, from and against all actions, damages, claims, losses or expenses of every
  type and description to which they may be subjected or put, by reason of, or resulting from, any act
  or omission of the City with respect to this Agreement and the issuance of the Bonds; provided,
  however, that the City shall not be required to indemnify any person or entity as to damages resulting
  from negligence or willful misconduct of such person or entity or their officers, agents or employees.

                   (b)     Indemnification by Property Owner. The Property Owner shall assume the
  defense of, indemnify and save harmless, the City, the CFD and CSD, their respective officers,
  employees and agents, and each and every one of them, from and against all actions, damages,
  claims, losses or expenses of every type and description to which they may be subjected or put, by
  reason of, or resulting from, any act or omission of Property Owner with respect to this Agreement,
  and the design, engineering and construction of the Acquisition Facilities constructed by Property
  Owner; provided, however, that Property Owner shall not be required to indemnify any person or
  entity as to damages resulting from negligence or willful misconduct of such person or entity or their
  officers, agents or employees.

                  (c)    Indemnification by CSD. CSD shall assume the defense of, indemnify and
  save harmless, the City, the CFD and Property Owner, their respective officers, employees and
  agents, and each and every one of them, from and against all actions, damages, claims, losses or
  expenses of every type and description to which they may be subjected or put, by reason of, or
  resulting from, any act or omission of CSD with respect to this Agreement, and the design,
  engineering and construction of the CSD Facilities constructed by CSD; provided, however, that
  CSD shall not be required to indemnify any person or entity as to damages resulting from negligence
  or willful misconduct of such person or entity or their officers, agents or employees.

          9.      Amendment and Assignment. This Agreement may be amended at any time but only
  in writing signed by each Party hereto. This Agreement may be assigned, in whole or in part, by the
  Property Owner to the purchaser of any parcel of land within the Property, provided, however, such
  assignment shall not be effective unless and until CSD and the City have been notified, in writing, of
  such assignment.

         10.     Entire Agreement. This Agreement contains the entire agreement between the Parties
 with respect to the matters provided for herein and supersedes all prior agreements and negotiations
 between the Parties with respect to the subject matter of this Agreement.




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          11.     Notices. Any notice, payment or instrument required or permitted by this Agreement
  to be given or delivered to either Party shall be deemed to have been received when personally
  delivered or seventy-two hours following deposit of the same in any United States Post Office in
  California, registered or certified, postage prepaid, addressed as follows:

          City:                           City of Coachella
                                          15 15 Sixth Street
                                          Coachella, California 92236
                                          Attention: City Manager

          CSD:                            Coachella Sanitary District
                                          1515 Sixth Street
                                          Coachella, California 92236
                                          Attention: District Manager

          Property Owner:                 Glenroy Coachella, LLC
                                          1801 South La Cienega Boulevard
                                          Los Angeles, California 90035
                                          Attention: Stuart Rubin

  Each Party may change its address for delivery of notice by delivering written notice of such change
  of address to the other Party hereto.

          12.     Exhibits.   All exhibits attached hereto are incorporated into this Agreement by
  reference.

          13.     Attorney's Fees. In the event of the bringing of any action or suit by any Party
  against any other Party arising out of this Agreement, the Party in whose favor final judgment shall
  be entered shall be entitled to recover from the losing Party all costs and expenses of suit, including
  reasonable attorneys' fees.

          14.    Severability. If any part of this Agreement is held to be illegal or unenforceable by
  court of competent jurisdiction, the remainder of this Agreement shall be given effect to the fullest
  extent reasonably possible.

         15.     Governing Law. This Agreement and any dispute ansmg hereunder shall be
  governed by interpreted in accordance with the laws of the State of California.

          16.     Waiver. Failure by a Party to insist upon the strict perfotmance of any of the
  provisions of this Agreement by the other Party hereto, or the failure by a Party to exercise its rights
  upon the default of another Party, shall not constitute a waiver of such Party's right to insist and
  demand strict compliance by such other Party with the terms of this Agreement thereafter.

         17.    No Third Party Beneficiaries. No person or entity other than the CFD, when and if
 formed, shall be deemed to be a third party beneficiary hereof, and nothing in this Agreement (either
 express or implied) is intended to confer upon any person or entity, other than CSD, the City, the
 CFD and Property Owner (and their respective successors and assigns, exclusive of individual
 home buyers), any rights, remedies, obligations or liabilities under or by reason of this Agreement.



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           18.    Singular and Plural; Gender. As used herein, the singular of any word includes the
  plural, and terms in the masculine gender shall include the feminine.

         19.    Counterparts. This Agreement may be executed in counterparts, each of which shall
  be deemed an original, but all of which shall constitute but one instrument.




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          IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day and year
  written above.

                                           CITY OF COACHELLA



                                           l!e.:.:~
                                           COACHELLA SANITARY DISTRICT



                                           Disf fl:~ -f!
                                                   GLENROY COACHELLA, LLC, a
                                                   Delaware limited liability company


                                                   By:      ~
                                                   Name: S t u ~
                                                                  .-:::::

                                                   Title: Manager




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                                          EXHIBIT A

                                  DEPICTION OF PROPERTY

  Real property in the City of Coachella, County of Riverside, State of California, described as
  follows:

         Lot numbers I, 2, 3, 4 and 6 of Parcel Map No. 37310 recorded November 9, 2017 as
  instrument number 2017-0472863.

  (Assessor Parcel Numbers: 603-220-061, 603-220-062, 603-220-063, 603-220-064, and 603-220-
  066)




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                                               EXHIBITB

                                  CSD FACILITIES DESCRIPTION

          CSD Fee Facilities. The type of CSD Fee Facilities eligible to be financed by the CFD under
  the Act are as follows:

           "CSD Fee Facilities" means sewer facilities and other public facilities of Coachella Sanitary
  District, including the foregoing public facilities included in the Coachella Sanitary District capacity
  and connection fee programs.

          Acquisition Facilities. The type of Acquisition Facilities eligible to be financed by the CFD
  under the Act are as follows:

                                  CSD ACQUISITION FACILITIES

                                                  Facility
                            Phase 2 sanitary sewer system installed under
                            City of Coachella Permit No. 2018-53.


                                      COMPLETED FACILITIES

                                Facility                                    Estimated Purchase Price
  Phase 1 sanitary sewer system installed under City of Coachella                 $763,371.84
  Permit No. 2018-53.




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                                            EXHIBIT C-1

                              DISBURSEMENT REQUEST FORM (FEES)

          1.    Community Facilities District No. 2018-1 of the City of Coachella (Glenroy)
  ("CFD") is hereby requested to pay from the CFD bond proceeds to Coachella Sanitary District
  ("CSD"), as Payee, or to CSD's designee, the sum set fo1ih in 3 below.

         2.       The undersigned certifies that the amount requested for CSD Fees is due and payable,
  has not formed the basis of prior request or payment, and is being made with respect to the
  connection of the property described below to the CSD system.

         3.      Amount requested:      $_ _ _ _ _ _ _ _ _ _ _ _ __

                 For Tract:

         By requisitioning Bond proceeds as described herein, CSD is not passing upon, detennining
  or assuming the tax-exempt status of the Bonds for federal or California state income tax purposes.

          4.    The amount set forth in 3 above is authorized and payable pursuant to the te1ms of the
  Joint Community Facilities Agreement, by and among the City of Coachella, CSD and Glenroy
  Coachella, LLC, dated May_, 2018 (the "Agreement"). Capitalized terms not defined herein shall
  have the meaning set forth in the Agreement.


                                                GLENROY COACHELLA, LLC, a Delaware
                                                limited liability company


                                               By:
                                               Name: _ _ _ _ _ _ _ _ __
                                               Title:
                                               Date:


                                                COACHELLA SANITARY DISTRICT


                                               By:
                                               Name: _ _ _ _ _ _ _ _ __
                                               Title:
                                               Date:




                                                 C-1
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                                            EXHIBIT C-2

               DISBURSEMENT REQUEST FORM (ACQUISITION FACILITIES)

           1.     Community Facilities District No. 2018-1 of the City of Coachella (Glenroy)
  ("CFO") is hereby requested to pay from the CSD Facilities Account of the Improvement Fund
  established by the CFD in connection with its special tax bonds (the "Bonds") to Coachella Sanitary
  District ("CSD"), as Payee, the sum set forth in 3 below.

          2.      The undersigned certifies that the amount requested hereunder has been expended or
  encumbered for costs related to the construction and completion of the CSD Acquisition Facilities.
  The amount requested is due and payable and has not fanned the basis of prior request or payment.
  In the event that CSD does not disburse any Bond Proceeds received for disbursement to third patties
  within five banking days of receipt, CSD agrees to trace and report to the CFD all earnings, if any,
  accruing from the investment of such Bond Proceeds, from the date of receipt by CSD of such
  amounts to the date of expenditure of such amounts for costs of the CSD Acquisition Facilities.

         3.      Amount Requested      $_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 Attach supporting documentation.

         By requisitioning Bond proceeds as described herein, CSD is not passing upon, determining
  or assuming the tax-exempt status of the Bonds for federal or California state income tax purposes.

          4.    The amount set forth in 3 above is authorized and payable pursuant to the terms of the
  Joint Community Facilities Agreement, by and among the City of Coachella, CSD and Glenroy
  Coachella, LLC, dated May_, 2018 (the "Agreement"). Capitalized terms not defined herein shall
  have the meaning set forth in the Agreement.


                                                GLENROY COACHELLA, LLC, a Delaware
                                                limited liability company


                                               By:
                                               Name: _ _ _ _ _ _ _ _ __
                                               Title:
                                               Date:


                                               COACHELLA SANITARY DISTRICT


                                               By:
                                               Name: _ _ _ _ _ _ _ _ __
                                               Title:
                                               Date:




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                                                                                                                                                                                                   &                  6~
THIS AMENDED BOUNDARY MAP AMENDS THE BOUNDARY MAP FOR                                                                                                                                            SHEET 1 OF 1 SHEET
COMMUNITY FACILITIES DISTRICT NO. 2018-1 OF THE CITY OF
                                                                        AMENDED PROPOSED BOUNDARY MAP
COACHELLA (GLENROY), CITY OF COACHELLA, COUNTY OF RIVERSIDE,
STATE OF CALIFORNIA, PRIOR RECORDED AT BOOK NO. 82 OF MAPS               COMMUNITY FACILITIES DISTRICT NO. 2018-1
OF ASSESSMENT AND COMMUNITY FACILITIES DISTRICT AT PAGE 7, IN                          (GLEN ROY)
THE OFFICE OF THE COUNTY RECORDER, COUNTY OF RIVERSIDE, STATE
OF CALIFORNIA.
                                                                                  CITY OF COACHELLA,
                                                                        COUNTY OF RIVERSIDE, STATE OF CALIFORNIA
FILED IN THE OFFICE OF THE CITY CLERK, CITY OF COACHELLA, THIS
~ DAY O F ~ 20__LS_.


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I HEREBY CERTIFY THAT THE WITHIN MAP SHOWING PROPOSED
                                                                               r   11111111                         J.§ 111111               H.
BOUNDARIES OF COMMUNITY FACILITIES DISTRICT NO. 2018-1
(GLENROY),     CITY   OF      COACHELLA,   COUNTY    OF                         U 11 I 111                          PU 11111 I               I ,L,r----'---~                                          ..
RIVERSIDE, STATE OF CALIFORNIA, WAS APPROVED BY THE CITY                                                                                                                                               "
COUNCIL OF THE CITY OF COACHELLA AT A REGULAR
SCHEDULED MEETING THEREOF, HELD ON ~ DAY OF M&lL,                                   LOT1                                   WT
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BY RESOLUTION NO.    2Ql6 • :2&
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    ~
CITY CLERK, CITY OF COACHELLA
                                                                                            0                              603-220-050
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FILED THIS~ DAY OF ~-I            I        ,
                                          20JB... AT THE HOUR OF                            LOTZ
ll     O'CLOCK /LM IN    8   OK       ]!OF MAPS OF ASSESSMENT                                                                                LOT6

AND COMMUNITY FACILITIES DISTRICTS PAGE _JS_ AS INSTRUMENT
  JDIB-Dl5B$0
NO.                   IN THE OFFICE OF THE COUNTY RECORDER,
IN THE COUNTY 9F RIVERSIDE, STATE OF CALIFORNIA.     FEE:~
                                                                          L
BY: \ i l l ~
    -- . : ~ A, ASSESSOR, COUNTY CLERK, RECORDER




                                                                                                                                                        LEGEND
                                                                                                                                                                      CFO BOUNDARY


                                                                                                                                                                      ZONE BOUNDARY


                                                                                                                                                                      PARCEL LINE



    ~
SPICER CONSULTING
    G R O U P
                    THIS BOUNDARY MAP CORRECTLY SHOWS THE BOUNDARIES
                    OF THE COMMUNITY FACILITIES DISTRICT. FOR DETAILS
                    CONCERNING THE LINES AND DIMENSIONS OF LOTS OR
                    PARCEL REFER TO THE COUNTY ASSESSOR'S MAPS FOR
                    FISCAL YEAR 2017-18.
                                                                                      250                 500                   1,000 Fo8t
                                                                                                                                                        XXX-XXX-XXX


                                                                                                                                                            0
                                                                                                                                                                      ASSESSOR PARCEL NUMBER


                                                                                                                                                                      ZONE
                                                                                                                                                                                                           W+Es
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  Recording Requested By and                             2018-0225621
                                                         06/04/2018 01:04 PM Fee: $ 69.00
  When Recorded Mail To:
                                                         Page 1 of 16
  Stradling, Y occa, Carlson & Rauth                     Recorded in Official Records
                                                         County of Riverside
  660 Newport Center Drive, Suite 1600                   Peter Aldana
                                                         Assessor-County Clerk-Recorder
  Newport Beach, California 92660
  Attn: Brian P. Forbath, Esq.                           1111 ~~, l'~"~l~~i~ii,~ib~:~1111111                  675
                                                             This document is exempt from the
                                                             payment of a recording fee pursuant to
                                                             Government Code Section 6103.


                                NOTICE OF SPECIAL TAX LIEN
                       FOR COMMUNITY FACILITIES DISTRICT NO. 2018-1
                           OF THE CITY OF COACHELLA (GLENROY)

           Pursuant to the requirements of Section 3114.5 of the Streets and Highways Code and
   Section 53328.3 of the Government Code, the undersigned City Clerk of the City of Coachella (the
  "City"), acting on behalf of Community Facilities District No. 2018-1 of the City of Coachella
  (Glenroy) (the "District"), State of California, hereby gives notice that a lien to secure payment of
  special taxes is hereby imposed by the City Council of the City of Coachella, Riverside County, State
  of California, sitting as the legislative body of the District (the "City Council"). The Special Tax for
  Facilities (as defined in Appendix A hereto) secured by this lien is authorized to be levied for the
  purpose of: (a) paying for the cost of the constrnction, purchase, modification, expansion,
  rehabilitation and/or improvement of (1) stonn drainage, sewer facilities, roadway, landscaping and
  other public facilities of the City, including the foregoing public facilities which are included in the
  City's fee programs with respect to such facilities and authorized to be financed under the Mello-
  Roos Community Facilities Act of 1982, as amended (the "City Facilities"); (2) sewer facilities and
 other public facilities of Coachella Sanitaiy District, including the foregoing public facilities included
  in the Coachella Sanitary District capacity and connection fee programs (the "Sanitary District
 Facilities"); and (3) water facilities, including the acquisition of capacity in the water system of the
 Imperial Irrigation District which are included in Imperial Irrigation District's water capacity and
 connection fee programs, and electric transmission and distribution facilities of the Imperial
 Irrigation District (the "Irrigation District Facilities" and together, with the City Facilities and the
 Sanitary District Facilities, the "Facilities"), and to finance the incidental expenses (the "Incidental
 Expenses") to be incmTed, including: (b) (1) the cost of engineering, planning and designing the
 Facilities; (2) all costs, including costs of the property owner petitioning to form the District,
 associated with the creation of the District, the issuance of the bonds, the determination of the
 amount of special taxes to be levied and costs otherwise incurred in order to cany out the authorized
 purposes of the District; and (3) any other expenses incidental to the constrnction, acquisition,
 modification, rehabilitation, completion and inspection of the Facilities; and (c) paying for the
 principal and interest and other pe1iodic costs on the bonds to be issued to finance the Facilities and
 Incidental Expenses.

         The Special Tax for Services (as defined in Appendix A hereto) secured by this lien is
 autho1ized to be levied for the purpose of paying for costs attributable to (i) maintenance and lighting
 of parks, parkways, streets, roads and open space, (ii) maintenance and operation of water quality



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  improvements, (iii) public street sweeping, (iv) fund an operating reserve for the costs of such
  services, and (v) Administrative Expenses (as defined in Appendix A hereto).

          The special taxes described herein are authorized to be levied within the District, which has
  now been officially formed and the lien is a continuing lien which shall secure each annual levy of
  such special taxes and which shall continue in force and effect until the special tax obligations are
  prepaid, pe1manently satisfied, and canceled in accordance with law or until the special taxes cease to
  be levied and a notice of cessation of special tax is recorded in accordance with Section 53330.5 of
  the Government Code.

          The rate, method of app011iomnent and manner of collection of the authorized special taxes is
  as set forth in Appendix A attached hereto and incorporated herein by this reference. The Special
  Tax for Services may not be prepaid in whole or in part. Conditions under which the obligation to
  pay the Special Tax for Facilities may be prepaid and pennanently satisfied and the lien of the
  Special Tax for Facilities cancelled are as follows:

           Parcels within the Disttict may prepay the obligation with respect to the Special Tax for
  Facilities in whole or in part as set forth in Section E and Section F of Appendix A attached hereto.

         Notice is fu11her given that upon the recording of this notice in the office of the County
  Recorder, the obligation to pay the levy of the special taxes described herein shall become a lien
  upon all nonexempt real property within the District in accordance with Section 3115.5 of the Streets
  and Highway Code.




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          The names of the owners and the assessor's tax parcel numbers of the real propetty included
  within the Distiict and not exempt from the special taxes are as set forth in Appendix B attached
  hereto and incorporated herein by this reference.

             Reference is made to the boundary map of the District recorded at Book No. 82 of Maps of
  Assessment and Community Facilities Distiicts at Page No. 38, in the office of the County Recorder
  for the County of Riverside, State of California, which map is now the final boundary map of the
  Disti·ict.

         For fu11her infonnation concerning the cun-ent and estimated future tax liability of owners or
  purchasers of real prope11Y subject to this special tax lien, interested persons should contact the City
  Manager, City of Coachella, 1515 Sixth Street, Coachella, California 92236, (760) 398-3502.




                                                 Andrea J. C ranza, Depu        ity Clerk of the City of
                                                 Coachella, acting on behalf of Community Facilities
                                                 District No. 2018-1 of the City of Coachella (Glemoy)




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                                              APPENDIX A

             RATE AND METHOD OF APPORTIONMENT OF SPECIAL TAX FOR
               COMMUNITY FACILITIES DISTRICT NO. 2018-1 (GLENROY)
                            OF THE CITY OF COACHELLA


  The following sets forth the Rate and Method of Apportiomnent for the levy and collection of Special Tax
  of the City of Coachella Community Facilities District No. 2018-1 (Glenroy) ("CFD No. 2018-1 "). The
  Special Tax shall be levied on and collected each Fiscal Year, in an amount determined through the
  application of the Rate and Method of Apportionment described below. All of the real prope1iy within
  CFD No. 2018-1 unless exempted by law or by the provisions hereof, shall be taxed for the purposes, to
  the extent, and in the manner herein provided.

  A. DEFINITIONS

     "Acre or Acreage" means the land area of an Assessor's Parcel as shown on an Assessor's Parcel Map,
     or if the land area is not shown on an Assessor's Parcel Map, the land area shown on the applicable
     Final Map, parcel map, condominium plan, or other recorded County parcel map or similar instrument.
     The square footage ofan Assessor's Parcel is equal to the Acreage multiplied by 43,560.

     "Act" means the Mello-Roos Community Facilities Act of 1982, being Chapter 2.5, Part 1, Division 2
     of Title 5 of the California Government Code.

     "Administrative Expenses" means the actual or reasonably estimated costs directly related to the
     administration of CFD No. 2018-1 including, but not limited to: the costs of computing the Special
     Tax and preparing the amrnal Special Tax collection schedules (whether by the City or designee
     thereof or both); the costs to the City, CFD No. 2018-1, or any designee thereof associated with
     fulfilling the CFD No. 2018-1 disclosure requirements; the costs associated with responding to public
     inquiries regarding the Special Tax; the costs of the City, CFD No. 2018-1 or any designee thereof
     related to an appeal of the Special Tax; and the City's annual administration fees including payment
     of a proportional share of salaries and benefits of any City employees and City overhead whose duties
     are related to the administration and third party expenses. Administrative Expenses shall also include
     amounts estimated or advanced by the City or CFD No. 2018-1 for any other administrative purposes
     of CPD No. 2018-1, including attorney's fees and other costs related to commencing and pursuing to
     completion any foreclosure of delinquent Special Tax.

     "Assessor's Parcel" means a lot or parcel shown on an Assessor's Parcel Map with an assigned
     Assessor's Parcel Number valid at the time the Special Tax for Facilities is enrolled for the Fiscal
     Year for which the Special Tax is being levied.

     "Assessor's Parcel Map" means an official map of the Assessor of the County designating parcels
     by Assessor's Parcel Number.

    "Assessor's Parcel Number" means that number assigned to an Assessor's Parcel by the County for
    purposes of identification.

    "Bonds" means any obligation to repay a sum of money, including obligations in the fonn of bonds,
    notes, certificates of participation, long-tenn leases, loans from government agencies, or loans from
    banks, other financial institutions, private businesses, or individuals, or long-term contracts, or any
    refunding thereof, to which Special Tax for Facilities within CFD No. 2018-1 have been pledged.


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      "Calendar Year" means the period commencing January 1 of any year and ending the following
      December 31.

     "CFD" or "CFD No. 2018-1" means Co111111unity Facilities District No. 2018-1 (Glenroy)
     established by the City under the Act.

     "CFD Administrator" means an official of the City, or designee thereof, responsible for (i)
     detennining the Special Tax for Facilities Requirement, (ii) determining the Special Tax for Services
     Requirement, and (iii) providing for the levy and collection of the Special Taxes.

     "City" means the City of Coachella.

     "City Council" means the City Council of the City of Coachella, acting as the Legislative Body of
     CFD No. 2018-1, or its designee.

     "County" means the County of Riverside.

     "Developed Property" means Assessor's Parcels for which a final certificate of occupancy has been
     issued for any building on that Assessor's Parcels by the City.

     "Exempt Property" means all Assessor's Parcels designated as being exempt from Special Tax for
     Facilities and/or Special Tax for Services pursuant to Section H, below.

     "Fiscal Year" means the period commencing on July 1 of any year and ending the following June
     30.

     "Indenture" means the indenture, fiscal agent agreement, resolution or other instrument pursuant to
     which Bonds are issued, as modified, amended and/or supplemented from time to time, and any
     instrument replacing or supplementing the same.

     "Maximum Special Tax for Facilities" means for each Assessor's Parcel, the Maximum Special
     Tax for Facilities, determined in accordance with Section C, that can be levied by CFD No. 2018-1 in
     any Fiscal Year on such Assessor's Parcel.

    "Maximum Special Tax for Services" means for each Assessor's Parcel, the Maximum Special Tax
    for Services, as determined in accordance with Section K below that can be levied in any Fiscal Year
    on such Assessor's Parcel.

    "Operating Fund" means a fund that shall be maintained for any Fiscal Year to pay for the actual
    costs of maintenance related to the Services, and the applicable Administrative Expenses.

    "Operating Fund Balance" means the amount of funds in the Operating Fund at the end of the
    preceding Fiscal Year.

    "Outstanding Bonds" means all Bonds which are then outstanding under the Indenture.

    "Proportionately" means (i) with respect to the levy of the Special Tax for Facilities, that the ratio
    of the actual Special Tax for Facilities levy to the applicable Maximum Special Tax for Facilities is
    equal for all applicable Assessor's Parcels and (ii) with respect to the levy of the Special Tax for
    Services, that the ratio of the actual Special Tax for Services levy to the applicable Maximum Special
    Tax for Services is equal for all applicable Assessor's Parcels.



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     "Services" means services permitted under the Mello-Roos Community Facilities Act of 1982
     including, without limitation, those services authorized to be funded by CPD No. 2018-1 as set fo1ih
     in Appendix A and the documents adopted by the City Council at the time the CFD was formed.

     "Special Tax(es)" means the Special Tax for Facilities and/or the Special Tax for Services.

     "Special Tax for Facilities" means the Special Tax for Facilities to be levied in each Fiscal Year on
     each Assessor's Parcel of Taxable Property to fund the Special Tax for Facilities Requirement.

     "Special Tax for Facilities Requirement" means that amount required in any Fiscal Year for CFD
     No. 2018-1 to: (i) pay debt service on all Outstanding Bonds due in the calendar year commencing in
     such Fiscal Year; (ii) pay periodic costs on the CFD No. 2018-1 Bonds, including but not limited to,
     credit enhancement and rebate payments on the CFD No. 2018-1 Bonds due in the calendar year
     commencing in such Fiscal Year; (iii) pay a proportionate share of Administrative Expenses; (iv) pay
     any amounts required to establish or replenish any reserve funds for all Outstanding Bonds; (v) pay
     for reasonably anticipated Special Tax for Facilities delinquencies to the extent not already included
     in a prior year's levy; (vi) pay directly for acquisition or construction of CFD Public Facilities to the
     extent that the inclusion of such amount does not increase the Special Tax for Facilities levy on
     Undeveloped Property; less (vii) a credit for funds available to reduce the annual Special Tax for
     Facilities levy, as determined by the CFD Administrator pursuant to the Indenture.

     "Special Tax for Services" means any of the Special Tax for Services authorized to be levied within
     CFD No. 2018-1 pursuant to the Act to fund the Special Tax for Services Requirement.

     "Special Tax for Services Requirement" means that amount to be collected in any Fiscal Year to
     pay for the estimated costs of Services as required to meet the needs of CFD No. 2018-1 in the next
     Fiscal Year. The costs to be covered shall be the direct costs to fund (i) the Services, (ii) fund an
     operating reserve for the costs of such Services as determined by the CFD Administrator, and (iii) a
     proportionate share of Administrative Expenses. Under no circumstances shall the Special Tax for
     Services Requirement include funds for Bonds.

     "Taxable Property" means all Assessor's Parcels within the boundaries of CFD No. 2018-1, which
     are not Exempt Property.

     "Trustee" means the trustee, fiscal agent, or paying agent under the Indenture.

    "Undeveloped Property" means Assessor's Parcels of Taxable Property not classified as Developed
    Property.

    "Zone" means a separate geographic area within Zone 1, Zone 2, or Zone 3 as applicable within CFD
    No. 2018-1 depicted on the Amended Proposed Boundaty Map for CFD No. 2018-1 on Appendix B
    attached hereto.

    "Zone I" means the separate geographic area identified as Zone 1 on Appendix B attached hereto.

    "Zone 2" means the separate geographic area identified as Zone 2 on Appendix B attached hereto.

    "Zone 3" means the separate geographic area identified as Zone 3 on Appendix B attached hereto.




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  B. IDENTIFYING TAXABLE PROPERTY

     Each Fiscal Year, begim1ing with Fiscal Year 2018-19, each Assessor's Parcel within CFD No. 2018-
     1 shall be classified as Taxable Property or Exempt Property. In addition, each Assessor's Parcel of
     Taxable Property shall be further classified as Developed Property or Undeveloped Property and as
     being within Zone I, Zone 2, or Zone 3. If an Assessor's Parcel of Taxable Property is located within
     more than one Zone, it shall be deemed to be entirely within the Zone in which the largest portion of
     its Acreage is located. Taxable Property shall be subject to Special Taxes for Facilities in accordance
     with Section C and D below.

  C. MAXIMUM SPECIAL TAX FOR FACILITIES

     The Maximum Special Tax for Facilities for each Assessor's Parcel of Taxable Property in any Fiscal
     Year shall be detem1ined pursuant to Table 1 below:

                                                 Table I
                                   Maximum Special Tax for Facilities Rates
                                          For Taxable Property

                        Zone        Parcel Map No. - Lot               Rate
                         1              37310-3,6                   $18,000 per Acre
                         2              37310-1, 2                   $7,650 per Acre
                         3               37310-4                     $3,620 per Acre

  D. METHOD OF APPORTIONMENT OF THE SPECIAL TAX FOR FACILITIES

     Commencing with Fiscal Year 2018-19 and for each following Fiscal Year, the City Council shall
     determine the Special Tax for Facilities Requirement and shall levy the Special Tax for Facilities in
     the following priority until the amount of Special Tax for Facilities levied equals the Special Tax
     Requirement for Facilities.

     First: The Special Tax for Facilities shall be levied on Proportionately on each Assessor's Parcel
     within Zone 1 and each Assessor's Parcel of Developed Property within Zone 2 or Zone 3 at up to
     100% of the Maximum Special Tax for Facilities;

    Second: If additional monies are needed to satisfy the Special Tax for Facilities Requirement after
    the first step has been completed, the Special Tax for Facilities shall be levied Proportionately on
    each Assessor's Parcel of Undeveloped Prope1ty within Zone 2 and Zone 3 at up to 100% of the
    Maximum Special Tax for Facilities for such Assessor's Parcels;




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   E. PREPAYMENT OF SPECIAL TAX FOR FACILITIES

     The following additional definitions apply to this Section E:

     "CFD Public Facilities" means $7,000,000 expressed in 2018 dollars, which shall increase by the
     Construction Inflation Index on July 1, 2019, and on each July 1 thereafter, or such lower amount (i)
     detem1ined by the City Council as sufficient to provide the public facilities under the authorized
     bonding program, or (ii) detennined by the City Council concurrently with a covenant that it will not
     issue any more Bonds to be supported by Special Tax for Facilities levied under this Rate and Method
     of Apportionment.

     "Construction Fund" means an account specifically identified in the Indenture or functionally
     equivalent to hold funds, which are cun-ently available for expenditure to acquire or construct public
     facilities eligible under CFD No. 2018-1.

     "Consfl·uction Inflation Index" means the annual percentage change in the Engineering News-
     Record Building Cost Index for the city of Los Angeles, measured as of the calendar year which ends
     in the previous Fiscal Year. In the event this index ceases to be published, the Construction Inflation
     Index shall be another index as determined by the City that is reasonably comparable to the
     Engineering News-Record Building Cost Index for the city of Los Angeles.

     "Future Facilities Costs" means the CFD Public Facilities minus public facility costs available to be
     funded through existing construction or escrow accounts or funded by the Outstanding Bonds, and
     minus public facility costs funded by interest earnings on the Construction Fund actually earned prior
     to the date of prepayment.

     "Outstanding Bonds" means all previously issued Bonds issued and secured by the levy of Special
     Tax for Facilities which will remain outstanding after the first interest and/or principal payment date
     following the cun-ent Fiscal Year, excluding Bonds to be redeemed at a later date with the proceeds of
     prior prepayments of Special Tax for Facilities.

    The Special Tax for Facilities applicable to any Assessor's Parcel of Taxable Property may be
    prepaid. The Special Tax for Facilities obligation applicable to the Assessor's Parcel in CFD No.
    2018-1 may be fully prepaid and the obligation to pay the Special Tax for Facilities for such
    Assessor's Parcel permanently satisfied as described herein. An owner of an Assessor's Parcel
    intending to prepay the Special Tax for Facilities obligation shall provide the CFD Administrator with
    written notice of intent to prepay. Within 30 days of receipt of such notice, the CFD Administrator
    shall notify such owner of the Prepayment Amount of such Assessor's Parcel. The CFD
    Administrator may charge a reasonable fee for providing this service. Prepayment must be made not
    less than 45 days prior to the next occmTing date that notice of redemption of Bonds from the
    proceeds of such prepayment may be given by the Trustee pursuant to the Indenture.

    The Prepayment Amount for each applicable Assessor's Parcel shall be calculated according to the
    following formula (capitalized tenns defined below):




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                 Bond Redemption Amount
     plus        Redemption Premium
     plus        Future Facilities Amount
     plus        Defeasance Cost
     plus        Administrative Fee
     less        Reserve Fund Credit
     less        Capitalized Interest Credit
     equals      Prepayment Amount

     As of the date of prepayment, the Prepayment Amount shall be calculated as follows:

     l. For an Assessor's Parcel of Taxable Property for which the Special Tax for Facilities is intended
     to be prepaid, compute the Maximum Special Tax for Facilities for that Assessor's Parcel.

     2. Divide the Maximum Special Tax for Facilities computed pursuant to paragraph I for such
     Assessor's Parcel by the sum of the estimated Maximum Special Tax for Facilities applicable to all
     Assessor's Parcels of Taxable Property in CFD No. 2018-1, excluding any Assessor's Parcels which
     have prepaid their Special Tax for Facilities in full.

     3. Multiply the quotient computed pursuant to paragraph 2 by the Outstanding Bonds. The product
     shall be the "Bond Redemption Amount".

     4. Multiply the Bond Redemption Amount by the applicable redemption premium, if any, on the
     Outstanding Bonds to be redeemed with the proceeds of the Bond Redemption Amount. This product
     is the "Redemption Premium."

    5. Compute the Future Facilities Cost.

    6. Multiply the quotient computed pursuant to paragraph 2 by the amount detennined pursuant to
    paragraph 5 to detetmine the Future Facilities Cost to be prepaid (the "Future Facilities Amount").
    7. Compute the amount needed to pay interest on the Bond Redemption Amount to be redeemed
    with the proceeds of the Prepayment Amount until the earliest redemption date for the Outstanding
    Bonds.

    8. Determine the actual Special Tax for Facilities levied on the Assessor's Parcel in the cun-ent
    Fiscal Year which has not yet been paid.

    9. Estimate the amount of interest earnings to be derived from the reinvestment of the Bond
    Redemption Amount plus the Redemption Premium until the earliest redemption date for the
    Outstanding Bonds.

    10. Add the amounts computed pursuant to paragraph 7 and 8 and subtract the amount computed
    pursuant to paragraph 9. This difference is the "Defeasance Cost."

    11. Estimate the administrative fees and expenses associated with the prepayment, including the costs
    of computation of the Prepayment Amount, the costs of redeeming Bonds, and the costs of recording
    any notices to evidence the prepayment and the redemption. This amount is the "Administrative Fee."

    12. Calculate the "Reserve Fund Credit" as the lesser of: (a) the expected reduction in the applicable
    reserve requirements, if any, associated with the redemption of Outstanding Bonds as a result of the
    prepayment, or (b) the amount derived by subtracting the new reserve requirements in effect after the
    redemption of Outstanding Bonds as a result of the prepayment from the balance in the applicable


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     reserve funds on the prepayment date. Notwithstanding the foregoing, if the reserve fund requirement
     is satisfied by a surety bond or other instrument at the time of the prepayment, then no Reserve Fund
     Credit shall be given. Notwithstanding the foregoing, the Reserve Fund Credit shall in no event be
     less than 0.

     13. If any capitalized interest for the Outstanding Bonds will not have been expended as of the date
     immediately following the first interest and/or principal payment following the current Fiscal Year, a
     capitalized interest credit shall be calculated by multiplying the quotient computed pursuant to
     paragraph 2 by the expected balance in the capitalized interest fund or account under the Indenture
     after such first interest and/or principal payment. This amount is the "Capitalized Interest Credit."

     14. The Prepayment Amount is equal to the sum of the Bond Redemption Amount, the Redemption
     Premium, the Future Facilities Amount, the Defeasance Cost, and the Administrative Fee, less the
     Reserve Fund Credit and the Capitalized Interest Credit.

     15. From the Prepayment Amount, the amounts computed pursuant to paragraphs 3, 4, 10, 12, and 13
     shall be deposited into the appropriate fund as established under the Indenture and used to retire
     Outstanding Bonds or make debt service payments. The amount computed pursuant to paragraph 6
     shall be deposited into the Construction Fund. The amount computed pursuant to paragraph 11 shall
     be retained by CFD 2018-1.

    The Special Tax for Facilities prepayment amount may be insufficient to redeem a full $5,000
    increment of Bonds. In such cases, the increment above $5,000 or integral multiple thereof will be
    retained in the appropriate fund established under the Indenture to be used with the next prepayment
    of Bonds or to make debt service payments.

    With respect to a Special Tax for Facilities obligation that is prepaid pursuant to this Section E, the
    City Council shall indicate in the records of CFD No. 2018-1 that there has been a prepayment of the
    Special Tax for Facilities obligation and shall cause a suitable notice to be recorded in compliance
    with the Act within thirty (30) days of receipt of such prepayment to indicate the prepayment of the
    Special Tax for Facilities obligation and the release of the Special Tax for Facilities lien on such
    Assessor's Parcel and the obligation to pay such Special Tax for Facilities of such Assessor's Parcel
    shall cease.

    Notwithstanding the foregoing, no prepayment will be allowed unless the amount of Special Tax for
    Facilities that may be levied on Taxable Property after such prepayment, net of Administrative
    Expenses, shall be at least 1.1 times the regularly scheduled annual interest and principal payments on
    all Outstanding Bonds in each future Fiscal Year.

 F. PARTIAL PREPAYMENT OF SPECIAL TAX FOR FACILITIES

    The Maximum Special Tax for Facilities obligation of an Assessor's Parcel of Taxable Property may
    be partially prepaid, provided that there are no delinquent Special Tax for Facilities, penalties, or
    interest charges outstanding with respect to such Assessor's Parcel at the time the Special Tax for
    Facilities obligation would be prepaid.

    The Partial Prepayment Amount shall be calculated according to the following formula:

    PP= (PG-A) x F+A

    The tenns above have the following meanings:



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     PP =        the Paitial Prepayment Amount.
     PG =        the Prepayment Amount calculated according to Section E.
     F=          the percent by which the owner of the Assessor's Parcel is partially prepaying the Special
                 Tax for Facilities obligation.
     A=          the Administration Fee calculated according to Section E.

     The owner of any Assessor's Parcel who desires such prepayment shall notify the CFD Administrator
     of such owner's intent to partially prepay the Special Tax for Facilities and the percentage by which
     the Special Tax for Facilities shall be prepaid. The CFD Administrator shall provide the owner with a
     statement of the amount required for the partial prepayment of the Special Tax for Facilities for an
     Assessor's Parcel within 30 days of the request and may charge a reasonable fee for providing this
     service. With respect to any Assessor's Parcel that is paitially prepaid, the City Council shall (i)
     distribute the funds remitted to it according to Section E, and (ii) shall indicate in the records of CFD
     No. 2018-1 that there has been a paitial prepayment of the Special Tax for Facilities obligation and
     shall cause a suitable notice to be recorded in compliance with the Act within thirty (30) days of
     receipt of such partial prepayment of the Special Tax for Facilities obligation to indicate the partial
     prepayment of the Special Tax for Facilities obligation and the partial release of the Special Tax for
     Facilities lien on such Assessor's Parcel, and the obligation of such Assessor's Parcel to pay such
     prepaid portion of the Special Tax for Facilities shall cease.

     Notwithstanding the foregoing, no partial prepayment will be allowed unless the amount of Special
     Tax for Facilities that may be levied on Taxable Property after such partial prepayment, net of
     Administrative Expenses, shall be at least 1.1 times the regularly scheduled annual interest and
     principal payments on all Outstanding Bonds in each future Fiscal Year.

  G. TERMINATION OF SPECIAL TAX FOR FACILITIES

    The Special Tax for Facilities shall cease not later than the 2058-2059 Fiscal Year, however, the Special
    Tax for Facilities will cease to be levied in an earlier Fiscal Year if the CFD Administrator has
    determined (i) that all required interest and principal payments on Bonds for which the Special Tax for
    Facilities has been pledged have been paid; (ii) all authorized facilities for CFD No. 2018-1 have been
    acquired, (iii) no delinquent Special Tax for Facilities remain uncollected and (iv) all other obligations
    ofCFD No. 2018-1 have been satisfied.

  H. EXEMPTIONS
    The City shall classify as Exempt Prope1ty within the applicable Zone, in order of priority, (i)
    Assessor's Parcels which are owned by, irrevocably offered for dedication, encumbered by or
    restricted in use by the State of California, Federal or other local governments, including school
    districts, (ii) Assessor's Parcels which are used as places of worship and are exempt from ad valorem
    property taxes because they are owned by a religious organization, (iii) Assessor's Parcels which are
    owned by, irrevocably offered for dedication, encumbered by or restricted in use by a property
    owners' association, (iv) Assessor's Parcels with public or utility easements making impractical their
    utilization for other than the purposes set forth in the easement, or (v) Assessor's Parcels restricted to
    other types of public uses detennined by the City Council, provided for purposes of levying the
    Special Tax for Facilities only that no such classification would reduce the sum of all Taxable
    Property within the applicable Zone to less than the following Acres described in Table 2:




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                                                   Table 2
                                             Minimum Taxable Acres

                                                Zone           Acres
                                                 1                21.29
                                                 2                 10.10
                                                  3                 1.80

        Notwithstanding the above, the City Council for the purpose of levying the Special Tax for Facilities
        shall not classify an Assessor's Parcel as Exempt Property if such classification would reduce the sum
        of all Taxable Prope1ty within the applicable Zone to less than the acreage amounts described in
        Table 2. Assessor's Parcels which cannot be classified as Exempt Prope1ty because such
        classification would reduce the Acreage of all Taxable Property within the applicable Zone to less
        than the acreage amounts described in Table 2 will be classified as Taxable Property, and will be
        subject to Special Tax for Facilities pursuant to Section D.

  I.    MANNER OF COLLECTION OF SPECIAL TAX FOR FACILITIES

       The Special Tax for Facilities shall be collected in the same manner and at the same time as ordinary
       ad valorem property taxes, provided, however, that CPD No. 2018-1 may collect Special Tax for
       Facilities at a different time or in a different manner if necessary to meet its financial obligations, and
       may covenant to foreclose and may actually foreclose on delinquent Assessor's Parcels as permitted
       by the Act.

  J.   APPEALS RELATING TO SPECIAL TAX FOR FACILITIES

       Any property owner claiming that the amount or application of the Special Tax for Facilities is not
       correct may file a written notice of appeal with the CPD Administrator not later than twelve months
       after having paid the first installment of the Special Tax for Facilities that is disputed. The CPD
       Administrator shall promptly review the appeal, and if necessary, meet with the property owner,
       consider written and oral evidence regarding the amount of the Special Tax for Facilities, and rule on
       the appeal. If the CFD Administrator's decision requires that the Special Tax for Facilities for an
       Assessor's Parcel be modified or changed in favor of the property owner, a cash refund shall not be
       made (except for the last year of levy), but an adjustment shall be made to the Special Tax for
       Facilities on that Assessor's Parcel in the subsequent Fiscal Year(s).

       The City Council may interpret this Rate and Method of Apportionment for purposes of clarifying
       any ambiguity and make determinations relative to the annual administration and levy of the Special
       Tax for Facilities and any landowner or resident's appeals. Any decision of the City Council shall be
       final and binding as to all persons.

 K. SPECIAL TAX FOR SERVICES

       Commencing with Fiscal Year 2018-19 and for each following Fiscal Year, the City Council shall
       detem1ine the Special Tax for Services Requirement and shall levy the Special Tax for Services on all
       Assessor's Parcels of Taxable Prope1ty until the aggregate amount of Special Tax for Services equals
       the Special Tax for Services Requirement. The Special Tax for Services shall be levied
       Prop01tionately on all Assessor's Parcels of Taxable Property up to 100% of the applicable Maximum
       Special Tax for Services to satisfy the Special Tax for Services Requirement;
       The Maximum Special Tax for Services for each Assessor's Parcel of Taxable Prope1ty for Fiscal
       Year 2018-19 is $1,300.00 per Acre.


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     On each July 1, commencing on July 1, 2019 the Maximum Special Tax for Services for Taxable
     Property shall increase by i) the percentage increase in the Consumer Price Index (All Items) for Los
     Angeles - Riverside - Orange County (1982-84 = 100) since the beginning of the preceding Fiscal
     Year, or ii) by two percent (2.0%), whichever is greater.

  L. DURATION OF SPECIAL TAX FOR SERVICES

     The Special Tax for Services shall be levied in perpetuity to fund the Special Tax for Services
     Requirement, unless the Services are no longer being funded by CFD No. 2018-1 as determined at the
     sole discretion of the City Council.


  M. MANNER OF COLLECTION

     The Special Tax for Services shall be collected in the same manner and at the same time as ordinary
     ad valorem property taxes, provided, however, that CFD No. 2018-1 may collect the Special Tax for
     Services at a different time or in a different manner if necessary to meet its funding requirements.

  N. APPEALS RELATING TO SPECIAL TAXES FOR SERVICES

     Any property owner claiming that the amount or application of the Special Tax for Services is not
     correct may file a written notice of appeal with the CFD Administrator not later than twelve months
     after having paid the first installment of the Special Tax for Services that is disputed. The CFD
     Administrator shall promptly review the appeal, and if necessary, meet with the property owner,
     consider written and oral evidence regarding the amount of the Special Tax, and rule on the appeal. If
     the CFD Administrator's decision requires that the Special Tax for Services for an Assessor's Parcel
     be modified or changed in favor of the property owner, a cash refund shall not be made ( except for
     the last year of levy), but an adjustment shall be made to the Special Tax for Services on that
     Assessor's Parcel in the subsequent Fiscal Year(s).

    The City Council may interpret this A Rate and Method of Appo1tionment for purposes of clarifying
    any ambiguity and make detenninations relative to the annual administration of the Special Tax for
    Services and any landowner or residents appeals. Any decision of the City Council shall be final and
    binding as to all persons.




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                                                APPENDIX A

                               CITY OF COACHELLA
                  COMMUNITY FACILITIES DISTRICT NO. 2018-1 {GLENROY)
                                 DESCRIPTION OF AUTHORIZED SERVICES

  The services which may be funded with proceeds of the Special Tax for Services of CFD No. 20 I 8-1, as
  provided by Section 53313 of the Act, will include all costs attributable to maintaining, servicing,
  cleaning, repairing and/or replacing landscaped areas (may include reserves for replacement) in public
  street right-of-ways, public landscaping, public open spaces and other similar landscaped areas officially
  dedicated for public use. These services including the following:

           (a)     maintenance and lighting of parks, parkways, streets, roads and open space, which
  maintenance and lighting services may include, without limitation, furnishing of electrical power to street
  lights; repair and replacement of damaged or inoperative light bulbs, fixtures and standards; maintenance
  (including irrigation and replacement) of landscaping vegetation situated on or adjacent to parks,
  parkways, streets, roads and open space; maintenance and repair of irrigation facilities; maintenance of
  public signage; graffiti removal from and maintenance and repair of public structures situated on parks,
  parkways, streets, roads and open space; maintenance and repair of playground or recreation program
  equipment or facilities situated on any park; and

           (b)     maintenance and operation of water quality improvements which include stom1 drainage
 and flood protection facilities, including, without limitation, drainage inlets, catch basin inserts,
 infiltration basins, flood control cham1els, fossil fuel filters, and similar facilities. Maintenance services
 may include but is not limited to the repair, removal or replacement of all or part of any of the water
 quality improvements, fossil fuel filters within the public right-of-way including the removal of
 petroleum hydrocarbons and other pollutants from water runoff, or appurtenant facilities, clearing of
 inlets and outlets; erosion repairs; and cleanup to improvements, and other items necessary for the
 maintenance, servicing; or both of the water quality basin improvements within flood control channel
 improvements; and

         (c)    public street sweeping, on the segments of the arterials within the boundaries of CFD No.
 2018-1; and any portions adjacent to the properties within CFD No. 2018-1; and

 In addition to payment of the cost and expense of the forgoing services, proceeds of the special tax may
 be expended to pay "Administrative Expenses," as said term is defined in the Rate and Method of
 Apportionment.




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                                                                                                                                                                                            SHEET 1 OF' I SHEET
          THIS AMENDED BOUNDARY MAP AMENDS T>-IE BOUNDARY MAP FOR
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                                            APPENDIXB

                 NAME OF OWNERS AND ASSESSOR'S PARCEL NUMBERS


                              Landowner                            Assessor's Parcel Number
   Glemoy Coachella, LLC, a Delaware limited liability company
   Force Rubin, LLC, a Delaware limited liability company
   Force Rubin 2, LLC, a Delaware limited liability company
   Coachella Resort, LLC, a California limited liability company         603-220-061

  Glenroy Coachella, LLC, a Delaware limited liability company
  Force Rubin, LLC, a Delaware limited liability company
  Force Rubin 2, LLC, a Delaware limited liability company
  Coachella Resort, LLC, a California limited liability company          603-220-062

  Desert Medical Properties, a California corporation                    603-220-063

  Glemoy Coachella, LLC, a Delaware limited liability company
  Force Rubin, LLC, a Delaware limited liability company
  Force Rubin 2, LLC, a Delaware limited liability company
  Coachella Resort, LLC, a California limited liability company         603-220-064

  Glemoy Coachella, LLC, a Delaware limited liability company
  Force Rubin, LLC, a Delaware limited liability company
  Force Rubin 2, LLC, a Delaware limited liability company
  Coachella Res01t, LLC, a California limited liability company         603-220-066




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                                                VERIFICATION
 1
 2                               UNITED STATES BANKRUPTCY COURT
 3                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
 4             I, JOSEPH RUBIN, declare as follows.
 5
               I am the managing member of QUONSET PARTNERS LLC, a party to this action, and
 6
     am authorized to make this verification for and on its behalf, and I make this verification for that
 7
     reason.
 8
               I have read the foregoing VERIFIED COMPLAINT FOR: (1) QUIET TITLE TO REAL
 9
     PROPERTY; (2) RESULTING TRUST; (3) DECLARATORY RELIEF; AND 4)
10
     VIOLATION OF 42 U.S.C. § 1983 and know its contents. The matters stated in the foregoing
11
     document are true of my own knowledge, except as to those matters which are stated on information
12
     and belief, and as to those matters I believe them to be true.
13
14             Executed on September 29, 2021, at Los Angeles, California.

15             I declare under penalty of perjury under the laws of the State of California that the foregoing

16   is true and correct.

17
18                                                                           _/s/ Joseph Rubin __________

19                                                                           JOSEPH RUBIN

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